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                             Nos. 2023-1777, -1779

                United States Court of Appeals
                    for the Federal Circuit

                 TRUDELL MEDICAL INTERNATIONAL,
                               Plaintiff-Appellant

                                        v.

                    D R BURTON HEALTHCARE, LLC

                 Defendant/Counter-Claimant-Cross-Appellant

 Appeals from the United States District Court for the Eastern District for North
      Carolina in No. 4:18-cv-00009-BO, Judge Terrence William Boyle

 PLAINTIFF-APPELLANT TRUDELL MEDICAL INTERNATIONAL’S
                    OPENING BRIEF

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July 20, 2023                                Attorneys for Plaintiff-Appellant,
                                             Trudell Medical International
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                            U.S. Patent No. 9,808,588

Claim 1: A respiratory treatment device comprising:

      an inlet configured to receive exhaled air into the device;

      an outlet configured to permit air to exit the device;

      an opening positioned in an exhalation flow path defined between the inlet
            and the outlet;

      a blocking segment configured to rotate relative to the opening between a
            closed position where the flow of air through the opening is restricted,
            and an open position where the flow of air through the opening is less
            restricted; and,

      a vane configured to rotate the blocking segment between the closed position
            and the open position in response to the flow of air through the opening;

      wherein a size of a blocking surface of the blocking segment is equal to or
            greater than a size of the opening.

Claim 9: A respiratory treatment device comprising:

      an inlet configured to receive exhaled air into the device;

      an outlet configured to permit air to exit the device;

      an opening positioned in an exhalation flow path defined between the inlet
            and the outlet, the opening having a generally oblong cross-sectional
            shape comprising a shorter first dimension and an elongated second
            dimension perpendicular to the first dimension; and,

      a blocking segment configured to translate relative to the opening along the
            shorter first dimension between a closed position where the flow of air
            through the opening is restricted, and an open position where the flow
            of air through the opening is less restricted;

      wherein a size of a blocking surface of the blocking segment is equal to or
            greater than a size of the opening.

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Claim 18: A respiratory treatment device comprising:

      an inlet configured to receive exhaled air into the device;

      an outlet configured to permit air to exit the device;

      an opening positioned in an exhalation flow path defined between the inlet
            and the outlet, and,

      a blocking segment configured to translate relative to the opening between a
            closed position where the flow of air through the opening is restricted,
            and an open position where the flow of air through the opening is less
            restricted;

      wherein a side profile of the blocking segment is shaped to mate with a side
            profile of the opening, when the blocking segment is in the closed
            position; and,

      wherein a size of a blocking surface of the blocking segment is equal to or
            greater than a size of the opening.




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                        CERTIFICATE OF INTEREST
      Counsel for Appellant, Trudell Medical International, certifies the following:

 1. Represented Entities.    2. Real Party in Interest. 3. Parent Corporations
 Fed. Cir. R. 47.4(a)(1).    Fed. Cir. R. 47.4(a)(2).     and Stockholders. Fed.
                                                          Cir. R. 47.4(a)(3).
 Provide the full names of Provide the full names of Provide the full names of
 all entities represented by all real parties in interest all parent corporations
 undersigned counsel in for the entities. Do not list for the entities and all
 this case.                  the real parties if they are publicly held companies
                             the same as the entities. that own 10% or more
                                                          stock in the entities.
                              ց None/Not Applicable տ None/Not Applicable
 Trudell            Medical                              Trudell        Partnership
 International                                           Holdings Limited
                                                         Packard Medical Supply
                                                         Centre Ltd.

4.     Legal Representatives. The names of all law firms, partners, and
associates that have not entered an appearance in the appeal, and (A) appeared
for the entity in the lower tribunal; or (B) are expected to appear for the entity
in this court.

Brinks Gilson & Lione
Womble Bond Dickinson

Jafon L. Fearson, formerly with Crowell & Moring LLP

John F. Morrow, Jr., Womble Bond Dickinson
Samuel B. Hartzell, Womble Bond Dickinson
Madison B. Waller, Womble Bond Dickinson

David R. Boaz, formerly with Womble Bond Dickinson

5.    Related Cases. An indication as to whether there are any related or prior
cases, other than the originating case number(s), that meet the criteria under
Federal Circuit Rule 47.5.


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Another unrelated patent infringement litigation is pending in the E.D.N.C. between
D R Burton Healthcare LLC and Trudell Medical International. Case No. 4:19-cv-
131-BO involves a different patent and is not related to the present appeal under the
criteria set out in Fed. Cir. R. 47.5(a). Trudell is informing the Court of Case No.
4:19-cv-131-BO because the district court judge sua sponte stayed that case pending
final disposition of this appeal.

6.     Organizational Victims and Bankruptcy Cases. All information required
by Federal Rule of Appellate Procedure 26.1(b) and (c) that identifies
organizational victims in criminal cases and debtors and trustees in bankruptcy
cases.

None/Not Applicable


July 20, 2023                                 /s/ Judy K. He




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’588 Patent          U.S. Patent No. 9,808,588 (Appx132)

Burton               D R Burton Healthcare, LLC

JMOL                 Judgment as a Matter of Law

M&R                  Magistrate Memorandum and Recommendation on Claim
                     Construction (Appx23)

MIL                  Motion in Limine

Trudell              Trudell Medical International

court                District Court

Collins              Dr. John Collins

Durgin               Dr. William Durgin




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                      STATEMENT OF RELATED CASES
     No other appeal in or from the same civil action was previously before this

Court or any other appellate court.

     Another unrelated patent infringement litigation is pending in the E.D.N.C.

between Trudell Medical International and D R Burton Healthcare, LLC. Case No.

4:19-cv-131-BO involves U.S. Patent No. 10,413,698, which is not related to the

present appeal under the criteria set out in Fed. Cir. R. 47.5(a). Trudell is informing

the Court of Case No. 4:19-cv-131-BO because the district court judge sua sponte

stayed that case pending final disposition of this appeal.




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                      JURISDICTIONAL STATEMENT

      Trudell appeals from a final judgment that was entered by the court on

November 10, 2022. Appx1-2. The court resolved timely post-judgment motions

on March 1, 2023 (Appx6-13), which Trudell also appeals, and Trudell filed a timely

notice of appeal on March 21, 2023. Appx3328-3330. The court had subject-matter

jurisdiction under 28 U.S.C. §§ 1331 and 1338(a). This Court has jurisdiction under

28 U.S.C. § 1295(a)(1).




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                          STATEMENT OF THE ISSUES
I.     Whether the court abused its discretion by allowing Burton’s claim

construction declarant, Dr. John Collins, to provide opinions regarding non-

infringement that had never before been disclosed to Trudell because Burton did not

timely serve an expert report on infringement from Collins in accordance with Fed.

R. Civ. P. 26(a)(2)(B).

II.    Whether Trudell was entitled to judgment of infringement as a matter of law

(or at least a new trial) because there was no substantial evidence to support the

jury’s finding that Burton’s Accused Products did not infringe the asserted claims

literally or under the doctrine of equivalents.

III.   Whether the court’s abuse of discretion warrants reassignment of this case to

a different trial judge on remand to “minimize even a suspicion of partiality,” as

required by Fourth Circuit precedent.




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                           STATEMENT OF THE CASE
I.    Preliminary Statement
      This is an appeal from a non-infringement jury verdict in a patent case

involving respiratory therapy technology where the District Court was more

interested in a fast trial, than a fair trial, and where the court abused its discretion by

allowing the accused infringer to present its non-infringement defense through an

expert witness who had neither served a timely Fed. R. Civ. P. 26 report nor been

deposed on his non-infringement opinions before the court’s last-minute and

inexplicable decision to allow that expert to testify at trial.

      Trial began on November 7, 2022.              Appx101.      Trudell presented its

infringement case principally through its inventors and expert testimony from Dr.

William Durgin. Appx2140-2219(2:1-80:14), Appx2225-2377(4:2-154:15), 2455-

2475(15:14-35:19). Burton did not challenge Durgin’s infringement proofs at trial,

electing instead to use cross-examination to attack the validity of the patent-in-suit.

Appx2356-2374(133:20-151:23). Burton presented only two witnesses at trial, its

founder and President, Mr. Gregory Lau, and Collins. Appx2477(37:8-15). Lau

never provided any testimony on non-infringement.           Appx2483-2505(43:9-65:8).

Had Collins’ testimony been properly excluded, Burton would have had no evidence

of non-infringement. Appx2503-2504(63:11-15,64:10).




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      The court was frustrated with this case and rushed to get it over with. On the

third and final day of trial, the court, without any explanation and contrary to a prior

MIL ruling, allowed Burton, which chose not to serve any expert reports before the

close of discovery, to present expert testimony from its prior claim construction

declarant, Dr. John Collins.     Appx2476-2477(36:24-37:15).         Through Collins,

Burton then exposed the jury to improper, untimely, and convoluted non-

infringement opinions that lacked any support and should have been struck as

unreliable under Fed. R. Evid. 702, and reargued claim construction positions that

already had been rejected. Appx2483-2537(43:17-97:19).

      Against this backdrop, the jury returned a verdict of non-infringement.

Appx129-131. Reversal of the non-infringement verdict, which not only lacks

substantial evidence support but is also against the clear weight of the evidence, is

warranted. Judgment in Trudell’s favor, with remand for damages, should be

entered. At minimum, a new trial should be ordered.

II.   Trudell Develops The Leading Patented Respiratory Therapy Device For
      Clearing Patients’ Lungs.
      A.     OPEP Therapy

      Millions of people across the world suffer from breathing problems caused by

mucus trapped in the lungs, which can result in compromised airways, excess mucus

build-up, serious lung infections, and in some instances, even death. Appx153(1:22-

46), Appx403-406(¶¶30-39). Mucus is generally carried away from human lungs


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and out of the body by traveling along the walls of airways, which are lined by tiny

hairs called cilia. Appx153(1:23-28), Appx404(¶32). Humans who have certain

respiratory conditions often struggle to clear excess mucus from their lungs in a safe

and effective manner for various reasons (e.g., impaired ciliary activity resulting

from thick, difficult to remove mucus and/or infections). Appx404-405(¶33).

      Respiratory therapy can help these individuals with removing excess mucus

from their lungs to improve their breathing. Appx153(1:22-46). One type of

respiratory therapy that can be used is Oscillatory Positive Expiratory Pressure

(“OPEP”), which involves delivering intermittent resistance and creating positive

pressure and airflow oscillations in the user’s airways to help loosen excess mucus

from the walls of the airways upon exhalation. Appx405-406(¶¶36-39).

      Generally, patients breathe in and out through an OPEP device for 10-20

breaths, then perform a series of “Huff Coughs” to clear any mucus from the airways.

Appx806(¶39); see also Appx2150-2151(11:25-12:10). Each session repeats this

process for 10-20 minutes, and a patient may perform 2-4 sessions per day.

Appx806(¶39). In the context of OPEP devices, as a patient exhales, a valve

repeatedly opens and closes to generate positive pressure oscillations which “stent”

open the patient’s airway while also gently vibrating to help dislodge mucus so that

it can be moved to larger airways and coughed out. Appx807(¶42), Appx805-

806(¶37); see also Appx2150-2151(11:25-12:10).


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      In 2013, Trudell launched its award-winning Aerobika® product, one of

Trudell’s many patented technologies that utilizes OPEP therapy to help improve

respiratory care for patients and improve their quality of life.                 Appx2151-

2152(12:16-13:5). When an Aerobika® user exhales, the user’s air is directed down

through the device towards a butterfly valve. Appx2456-2457(16:2-17:4). As the

pressure builds, it will eventually cause the butterfly valve to open. Appx2459(19:6-

14). Once the butterfly valve opens, the exhaled air will flow past the butterfly valve

and acts on the vane that is connected to the butterfly valve. Appx2456(16:2-17:4),

Appx2459(19:10-14). The air flow causes the vane to vibrate back and forth, which

in turn causes the butterfly valve to close and open, thereby creating pressure pulses

in the users lungs that loosens the mucus.                    Appx2457-2458(17:8-18:5,

Appx2460(20:2-16).

                                                                     ••



                                         ••
                                 Butterfly Valve                          Vane
      Aembil<AJ


                                                                                   Inhalation   Ext
                                                                                      Flow




Appx2906, Appx2891, Appx2456-2460(16:12-20:13).

      B.     Technology of the ’588 Patent


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      Trudell’s ’588 Patent is generally directed to portable OPEP devices and a

method of performing OPEP therapy. Appx153(1:50-51). The ’588 Patent explains

that OPEP is advantageous “because it can be easily taught to most hospitalized

patients” who can do the OPEP therapy themselves while hospitalized “and also

once they have returned home.” Appx153(1:41-45). As such, “a number of portable

OPEP devices have been developed.” Appx153(1:45-46).

      The ’588 Patent discloses a variety of these devices (e.g., Appx135-152(Figs.

1-18), including an embodiment that is breath-actuated, i.e., provides OPEP therapy

by using a vane to harness energy in the user’s breath (or exhaled air) as a force to

rotate an air restrictor member in the device. Appx146-152(Figs. 12-18); see also

Appx157-158(9:44-12:9).      This configuration serves to i) provide intermittent

resistance and create positive pressure and oscillations in the user’s airways, and ii)

loosen and eventually remove excess mucus from their lungs. Appx157-158(9:44-

12:9). Trudell’s breath-actuated, vane-driven Aerobika® device practices claims 1-

5 and 7 of the ’588 Patent. Appx157(9:58-65), Appx2455-2468(15:14-28:16),

Appx2620-2623, Appx2714-2715, Appx2891-2906, Appx2826-2827.

      The ’588 Patent claims a moveable vane and blocking segment that provides

improved OPEP therapy.        Appx157(9:44-10:14).       Figures 12-14 illustrate an

exemplary breath-actuated OPEP device utilizing a vane (567, green) and blocking

segment (546, yellow) to produce OPEP therapy:


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            51;7



             FIG. 12                   FIG. 13                   FIG. 14



Appx146-148. As the ’588 Patent makes clear, “[t]he restrictor members 542 may

have any number of vanes 567 and blocking segments 546” (Appx157(10:54-56),

Appx150) and varying degrees of rotation (including back and forth in opposite

directions) are acceptable. Appx156(7:16-19), Appx157(9:36-43, 9:60-65).

III.   Burton’s Accused Products Use Trudell’s Patented Technology.
       Burton is in the business of selling OPEP devices in the United States,

including the vPEP®, vPEP® HC, iPEP®, PocketPEP®, and PocketPEP®

Advantage products (collectively, “Accused Products”). Appx2306-2307(83:25-

84:7), Appx2310(87:20-22), Appx2468(28:12-16), Appx2310-2312(87:16-89:12),

Appx2854-2855. The Accused Products are hand-held OPEP devices having an

internal “flapper valve” that includes a restrictor member and provides OPEP

therapy upon exhalation by responding to the exhaled airflow via opening and

closing, which provides intermittent resistance and creates positive pressure and

oscillations in the patient’s airways. Appx2311-2312(88:17-89:12), Appx2855.

The vPEP®, vPEP® HC, and PocketPEP® products all include a blocking segment


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(part of the flapper valve that faces the opening) that is configured to rotate between

a closed position and an open position (Appx2854-2855, Appx2861, Appx2310-

2312(87:8-2-89:12), Appx2323-2324(100:17-101:23)), and a vane, which is a radial

piece of structure extending from the blocking segment (Appx2326-2327(103:18-

104:18)). The flapper valve’s repeated transition between a closed and open position

creates an oscillating pressure in a patient’s lungs. Appx2323-2324(100:17-2-

101:23). The iPEP® uses the PocketPEP® OPEP module to provide OPEP therapy

and thus includes the same flapper valve as PocketPEP®, and operates in the same

fashion. Appx2312(87:8-89:12).

      Illustrative photos of the accused vPEP® device and its flapper valve are

below:




               (, _ E_;>_H_•e_rr_

Appx2617.




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      Vane                     Axis of rotation




                                                             vPEP® Flapper valve open
                    Flapper valve of vPEP®

Appx2862 (vPEP® flapper valve in closed and open positions), Appx2323-

2324(100:17-2-101:23).

      Burton began selling the Accused Products in the United States in January

2017, years after Trudell introduced its Aerobika® device. Appx2418-2419(195:10-

196:14), Appx2806-2808, Appx2815-2818.

IV.   Trudell Files Suit To Enforce Its Patent Rights.
      A.      Pre-Trial Proceedings
      On January 29, 2018, Trudell sued Burton for patent infringement. Appx69.

The parties filed Opening Claim Construction Briefs on November 22, 2019

(Appx81), and a Markman hearing was held before Magistrate Judge Swank on

October 22-23, 2020. Appx88. On January 20, 2021, this case was reassigned to

United States District Judge Terrence W. Boyle (Appx88) and, on August 23, 2021,

Judge Boyle assigned a new magistrate judge, Magistrate Judge Meyer, to issue a

M&R Regarding Claim Construction (Appx92).



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             1.    Claim Construction Decision
      On March 21, 2022, over 500 days after the Markman Hearing, Magistrate

Judge Meyer issued a 41-page M&R that adopted Trudell’s proposed constructions

for nine out of ten disputed terms, which was adopted in its entirety by the court on

June 14, 2022. Appx93, Appx23-63, Appx14-22. The constructions of four of those

terms are particularly pertinent in this appeal and discussed here.

      First, the court construed “a vane” to mean “a blade or plate whose primary

purpose is to convert kinetic energy in the form of fluid movement into rotational

movement.” Appx38. In doing so, the court found that “‘a vane’ should be

construed broadly to mean one or more vanes,” and rejected Burton’s argument that

“a vane” requires more than one vane. Id.

      Second, the court construed “rotate relative to the opening” to mean “move a

body relative to the opening about a point at a fixed radius.” Appx42. In doing so,

the court rejected Burton’s argument “limiting the claim language to mean only a

full rotation.” Appx40.

      Third, the court also construed “translate relative to the opening” to mean

“move a body relative to the opening in a manner in which all parts of the body

move . . . the same distance in the same amount of time.” Appx46.

      Finally, the court construed the term “generally oblong cross-sectional shape”

to mean “cross section having a generally rectangular or elliptical shape, wherein its



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larger dimension is longer than its shorter dimension.” Appx49. In doing so, the

court rejected Burton’s narrow construction, which disregarded the term “generally”

and would have excluded devices with a cross section that was not precisely elliptical

or rectangular from the literal scope of the claim. Appx47-49.

             2.    Status and Pre-Trial Conferences
      Shortly thereafter, at a routine status conference held on August 24, 2022, the

court expressed frustration at the parties for the case having been pending for so

long, and suddenly announced that it intended “to get [this case] off [his] report” by

September 30 and set a new expedited trial schedule. Appx1722(6:1-3). At the time,

fact discovery had not closed and expert discovery had not commenced.

Nevertheless, the court reset the close of all discovery for September 30, 2022 and

set trial to commence on November 7, 2022. Appx1744.

      The court also made clear that it sought to rush this case to conclusion – no

matter the means – for the sole purpose of removing this case from his Civil Justice

Reform Act reporting requirements. Appx1722(6:1-4). A few exemplary comments

made by the court during the status hearing include:

   x “This case has gone on way, way too long.” Appx1719(3:9).

   x “You got all kinds of horizontal movement and no vertical movement. And

      I’m going to settle this case or resolve it or dismiss it by September 30th. Just

      – that’s a head’s up.” Appx1719(3:14-17).



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    x “Forget about the claims. What are they going to do, reverse me? It goes to

       the Federal Circuit, doesn’t it?” Appx1721(5:13-15).

    x “But I have to report this case by September 30th and I’m going to get it off

       my report. That’s the problem you have.              Did you know that?”

       Appx1722(6:1-3).

       Two days later, the court issued an Order that reset the close of all discovery

to September 30, 2022 and set trial to commence on November 7, 2022. Appx1744.

       Pursuant to the court’s scheduling order, Trudell timely completed its

discovery obligations under the FRCP in advance of the September 30 deadline.

Appx2007-2010, Appx2013-2014. In particular, Trudell disclosed all of its evidence

supporting its infringement and damages contentions, including detailed expert

reports from Durgin (infringement) and Mr. Ivan Hoffman (damages). Id. Burton,

on the other hand, chose to rely only on Collins’ claim construction and contention

declarations (Appx281, Appx680) and did not serve expert reports under FRCP 26

by September 30, 2022. Appx2030-2031. Even the opinions in those declarations

were conclusory at best.1 See, e.g., Appx751(73:18-74:22).


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  Collins provided only cookie-cutter one-paragraph assertions on indefiniteness and
lack of written description. Appx292-312, ¶¶39,44,49,53,58,63,68,73,77,81,
85,90,94,98,103,109. The same is true with his claim construction declaration. See,
e.g., Appx692(¶41), Appx711(¶111), Appx713-715(¶¶119, 124-126), Appx719-
720(¶140), Appx728 (¶175). Burton ultimately did not pursue at trial any of Collins’
anticipation arguments. Appx2055(23:3-4).


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      On October 21, 2022, after the close of all discovery (Appx1744), Burton

served a new 7-page declaration from Collins to oppose Trudell’s summary

judgment motion on infringement. Appx1949-1955. The declaration contained 12

short paragraphs with conclusory opinions that contradicted the court’s claim

constructions. Id. For example, Collins asserted that Burton’s Accused Products do

not infringe because they contain a single flapper – an argument that blatantly

disregarded the court’s construction of “a vane” as including “one or more vanes.”

Appx1951(¶7), Appx32-38, Appx16-18. As a consequence of Burton’s election not

to timely provide an expert report from Collins on non-infringement, Trudell

objected to Collins testifying at trial, and also filed a MIL to preclude Burton’s

witnesses from rearguing claim construction at trial. Appx1964-1968. Notably,

Collins never addressed Durgin’s infringement analysis on the doctrine of

equivalents, whether in his post-discovery declaration or at trial. Appx1949-1954.

      At a November 4, 2022 pre-trial conference, the court remained both

impatient and critical of the parties’ dispute, denying a routine request to provide the

jury the Federal Judicial Center’s patent tutorial video. Appx2054(22:2)(THE

COURT: “Absolutely not.”). He referred to the case as “a complete disaster”

(Appx2041(9:20-21)) and admonished the parties that most of his trials were

completed in one day. Appx2043(11:25). The trial judge simply did not want to be

bothered by a full and fair trial of the patent claims at issue.


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      In the same conference, he initially reversed his own rulings on important pre-

trial evidentiary matters from minutes earlier. See, e.g., Appx2043(11:18-19) ( THE

COURT: “Nope. I’m going to reverse what I said and deny the motion in limine”);

see also Appx2042(10:8-22)). But, by the end of the conference, the court had

granted Trudell’s motion to preclude Burton’s witnesses from providing testimony

seeking to reargue claim construction. Appx2035(3:11-13). However, he denied

Trudell’s motion to preclude Collins from testifying at trial – without providing any

explanation. Id. at 3:1-2.

      On the Friday before trial, Trudell filed a motion for reconsideration of the

court’s decision to allow Collins to testify at trial because he had never provided any

expert reports. Appx101. On Monday morning, the court reversed itself and

indicated that Collins would not be permitted to testify at trial. Appx2073(2:3-12),

Appx2075-2076(4:24-5:4). But, responding to protest from Burton’s counsel, the

court waffled and qualified that he would reconsider whether Collins would be

permitted to testify at the close of Trudell’s evidence. Appx2076-2080(5:8-9:2).

      In summary, on the critical issue of whether Burton should be allowed to put

on testimony of an expert who had not timely rendered an expert report, the court

initially ruled in favor of Burton at a pretrial conference (Appx2035(3:1-2)), then

reversed itself on the first day of trial (Appx2076-2080), but then qualified his ruling




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by punting on the issue until after Trudell closed its case-in-chief. Appx2073-

2080(2:3-9:2).

       B.    Trial

       The trial, which lasted only three days, began and ended with a judge who

simply was unwilling to roll up his sleeves, and try to understand the facts and the

legal issues at hand. Appx1722(6:1-3), Appx1719(3:9, 3:14-17), Appx1721(5:13-

15).

       Trudell presented evidence from five witnesses, including its two inventors,

its technical expert Durgin, a sales representative, and its damages expert Hoffman.

Appx2144, Appx2227, Appx2306, Appx2411.2                Durgin set forth a very

straightforward infringement analysis that established why each and every limitation

of the asserted claims was satisfied by Burton’s Accused Products.             Infra

Arg.Sec.III.A.1-III.A.3; see also Appx2306-2356(83:1-133:10), Appx2850-2912.

The court, however, failed to understand the significance of Durgin’s testimony and

even cut off his testimony when Durgin was about to explain how Trudell’s

Aerobika® device is covered by the ’588 Patent. Appx2355-2356(132:13-133:10).

The next, and final, day of trial, the court was unaware of the relevance of the

Aerobika®, as was evident when it questioned whether the Aerobika® device was



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 Trudell also called Burton’s president, Mr. Gregory Lau, as an adverse witness.
Appx2377.


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ever seen during the trial. Appx2452-2454(12:12-14:12). After recognizing that it

had prohibited testimony on the subject by Durgin a day earlier, it allowed Trudell

to reopen its case-in-chief, given the confusion that resulted from the court’s

decision to cutoff Durgin’s direct examination testimony the day before. Appx2452-

2454(12:12-14:12).

      Throughout Trudell’s case, the court criticized Trudell and its case in front of

the jury with statements that reinforced its lack of interest in this case and the

technology at issue, its unfamiliarity with its own rulings, and an overall inability to

maintain the appearance of justice. A few prejudicial statements from the court

made in the presence of the jury include:

   x THE COURT, in the presence of the jury following the re-cross of Mr. Daniel
     Engelbreth (Trudell’s co-inventor ): “[I]t’s painful. My gosh. I should have
     put time limits . . . so that they’d have to be efficient and get the information
     to you and then let you decide this week. And we have Veterans Day, which
     is important, and we’re not going to have court on that day. . . . I don’t think
     they understand they have to get through this case.” Appx2305(82:1-8).

   x THE COURT, during the direct of Durgin: “You [Trudell’s counsel] can’t do
     anything quickly. What do you [the jury] want, do you [the jury] want to hear
     this stuff or do you want it kept moving along in the case? . . . You’re all –
     everybody’s in favor of moving it along. Sustained.” Appx2356(133:3-8).

   x THE COURT, addressing the JURY during the re-direct of Durgin, while
     referring to a set of patent-figure related exhibits being used by Burton’s
     counsel: “Okay. Hold on. The wheel comes from the patent itself. It – it has
     that illustration. I’m sitting here trying to figure out where do all these
     exhibits come from. So are you having the same problem? No? You all
     understood that, that the wheel was illustrated in the patent. Okay.”
     Appx2473-2474(33:20-34:1).


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      When it came time for Burton to present its case, on the last day of trial,

without any explanation or argument, the court inexplicably and suddenly decided

that he would allow Collins to testify.        Appx2476-2477(36:24-37:15).       Over

Trudell’s objection, Burton then presented through Collins improper and never-

before disclosed non-infringement opinions to the jury that conflated the issues of

non-infringement and invalidity, failed to address claim language in the context of

the claims, and deviated from the court’s claim constructions.             Appx2508-

2537(68:9-97:18). Trudell’s counsel had less than an hour, over the parties’ lunch

break, to prepare for a cross-examination of Collins on his new opinions presented

to the jury. Appx2357-2358(134:19-135:10). Burton’s only other witness at trial

was its president, Gregory Lau. Appx2477(37:8-13).

      Against this backdrop, the court’s intent to reach a verdict (any verdict) no

matter the means, just so the court could remove this case from its report and send

the parties off to this Court, is apparent. See also supra SOC.Sec.IV.A.2. The

schedule and course of the trial raise questions regarding the legal sufficiency of the

jury’s ultimate verdict of non-infringement in Burton’s favor.          Id.; see also

Appx129-131. Moreover, without a charge conference, the trial judge read a

hodgepodge of messed-up instructions to the jury and sent them off to deliberate.3


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  For example, the trial judge read instructions on anticipation and obviousness
(Appx2598-2599(158:13-159:9)) when both defenses were dropped by Burton


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Appx2591-2602(151:11-162:10). After around two hours, and a question from the

jury about the meaning of indefiniteness (Judge Boyle had neglected to include

proposed jury instructions on this issue, see Appx106-128), the jury came back with

a finding that Trudell’s ’588 Patent was valid, but not infringed. Appx129-131.

      C.    Post-Trial
      Trudell timely filed post-trial motions and, on March 1, 2023, the court denied

Trudell’s renewed motion for JMOL under FRCP 50(b) or, in the alternative, a new

trial pursuant to FRCP 59(a). Appx6-13. Although the court acknowledged the

factors that should have informed its decision about whether to exclude Collins’

testimony and said they were considered, it provided no explanation whatsoever of

how it analyzed those factors. Appx12-13. Burton did not file any post-trial

motions. Appx102-105.

                           SUMMARY OF ARGUMENT
      It is undisputed that Burton made a deliberate choice not to serve an expert

report on non-infringement before the close of discovery. The appropriate sanction

under the Federal Rules of Civil Procedure should have been automatic exclusion of


during the pretrial conference, and Burton did not introduce any evidence on these
issues. Appx2055(23:3-4)(“We are – we are not going to raise the anticipation or
an obviousness offense [sic].”). The trial judge also read the wrong asserted claims
to the jury Appx2592-2593(152:23-153:5), Appx2594(154:17-18) (referring to
claims 1-18 and 20-26, when only claims 1-7, 9, and 18 were asserted during the
trial) and provided a legally incorrect instruction on enhanced damages. Appx2601-
2602(161:23-162:2).


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the expert’s untimely and improper testimony. Fed. R. Civ. P. 37(c)(1). The district

court abused its discretion in nonetheless allowing the expert to testify at trial in

contravention of the law governing expert disclosures. Not once did the court

explain the basis for its decision to allow the expert to testify, and the trial judge’s

ruling on Trudell’s post-trial motions did not address the relevant factors, all of

which point to an opposite conclusion. Appx12.

      Had the court properly followed its gatekeeping role, no reasonable juror

could have found a legally sufficient evidentiary basis to support a verdict of non-

infringement in Burton’s favor. The record shows that Trudell more than met its

burden to prove Burton’s Accused Products infringe the asserted claims of the ’588

Patent by a preponderance of the evidence. Without the improper expert testimony,

Burton presented no evidence of non-infringement at trial. Reversal and remand for

determination of damages and injunctive relief is therefore appropriate.

      At a minimum, a new trial is warranted given prejudicial evidentiary errors

that occurred during this jury trial. To leave this verdict intact would result in a gross

miscarriage of justice.

      Finally, if the Court remands this case, Trudell respectfully submits that

reassignment to a different trial judge is warranted in the interests of “minimizing

even a suspicion of partiality” as required under Fourth Circuit Precedent.




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                                   ARGUMENT
I.    Standard of Review
      Trudell appeals the court’s order allowing Burton’s claim construction

declarant, Collins, who never timely served an expert report under FRCP 26, to

testify and provide expert opinions at trial, which is reviewed under the law of the

regional circuit. Siemens Med. Sols. USA, Inc. v. Saint-Gobain Ceramics & Plastics,

Inc., 637 F.3d 1269, 1284 (Fed. Cir. 2011). The Fourth Circuit “review[s] a district

court’s decision to admit expert testimony for an abuse of discretion.” Sardis v.

Overhead Door Corp., 10 F.4th 268, 280 (4th Cir. 2021). Among other things, a

“district court abuses its discretion when it misapprehends or misapplies the

applicable law.” Wickersham v. Ford Motor Co., 997 F.3d 526, 538 (4th Cir. 2021).

This Court has found that a district court abuses its discretion in a patent case when

it improperly admits expert testimony contrary to the applicable federal rules.

Sundance, Inc. v. DeMonte Fabricating Ltd., 550 F.3d 1356, 1363 (Fed. Cir. 2008)

(holding the district court abused its discretion by permitting testimony from a

“witness lacking the relevant technical expertise . . . under [FRE] 702”).

      Trudell appeals the court’s denial of JMOL, which is reviewed under regional

circuit law. ClearValue, Inc. v. Pearl River Polymers, Inc., 668 F.3d 1340, 1343

(Fed. Cir. 2012). The Fourth Circuit reviews denials de novo, applying the same

standard as the district court. Johnson v. MBNA Am. Bank, NA, 357 F.3d 426, 431



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(4th Cir. 2004). JMOL denials are reversed “if the jury’s factual findings, presumed

or express, are not supported by substantial evidence or, if they are, that the legal

conclusions implied from the jury’s verdict cannot in law be supported by those

findings.” Kearns v. Chrysler Corp., 32 F.3d 1541, 1547-48 (Fed. Cir. 1994); see

also Myrick v. Prime Ins. Syndicate, Inc., 395 F.3d 485, 489 (4th Cir. 2005) (“If a

reasonable jury could reach only one conclusion based on the evidence or if the

verdict in favor of the non-moving party would necessarily be based upon

speculation and conjecture, judgment as a matter of law must be entered.”).

      Trudell also appeals the court’s denial of a new trial, which is reviewed under

regional circuit law. Apple Inc. v. Wi-LAN Inc., 25 F.4th 960, 975 (Fed. Cir. 2022).

The Fourth Circuit reviews denials for abuse of discretion. United States v. Perry,

335 F.3d 316, 320 (4th Cir. 2003). A new trial is warranted if “the verdict is against

the clear weight of the evidence, or is based upon evidence which is false, or will

result in a miscarriage of justice, even though there may be substantial evidence

which would prevent the direction of a verdict.” Williams v. Nichols, 266 F.2d 389,

392-93 (4th Cir. 1959).




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II.   The District Court Abused Its Discretion By Allowing Burton’s Claim
      Construction Declarant To Testify as an Expert Witness When He Never
      Served an Expert Report.
      A.     Collins’ Testimony Should Have Been Automatically Excluded
             Because It Was Not Timely Disclosed under FRCP 26.

      The court abused its discretion in allowing Collins to provide expert testimony

to the jury when he never timely served an expert report. Appx2477(37:8-15),

Appx2538(98:14-16, 98:23). Fourth Circuit precedent recognizes an automatic

sanction of exclusion in situations where a party’s expert witness failed to comply

with the requirements of FRCP 26. See S. States Rack & Fixture, Inc. v. Sherwin-

Williams Co., 318 F.3d 592, 592 n.2 (4th Cir. 2003); see also BorgWarner, Inc. v.

Honeywell Int’l, Inc., 750 F. Supp. 2d 596, 605 (W.D.N.C. 2010) (excluding expert

testimony because the report was untimely and the other side “cannot analyze the

reliability of [the expert’s] opinions, nor can it adequately prepare to cross-examine

him or have its experts prepare any opinions in rebuttal”). Indeed, “Rule 26

disclosures are often the centerpiece of discovery in litigation that uses expert

witnesses.” Saudi v. Northrop Grumman Corp., 427 F.3d 271, 278 (4th Cir. 2005).

As such, “[a] party that fails to provide [timely] disclosures unfairly inhibits its

opponent’s ability to properly prepare, unnecessarily prolongs litigation, and

undermines the district court’s management of the case.” Id.

      The facts here are akin to Southco, Inc. v. Fivetech Tech. Inc., where the

alleged infringer “did not disclose [the expert’s] opinion in an expert report as


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required by both the Federal Rules of Civil Procedure and the district court’s

scheduling order,” but had submitted an expert declaration in support of its summary

judgment motion on non-infringement. 611 Fed. App’x 681, 688 (Fed. Cir. 2015).

The district court denied the patentee’s motion to strike the expert’s untimely

declaration, but this Court reversed, holding that the district court “clearly erred in

finding [that the patentee] was not prejudiced” and “ abused its discretion by failing

to give [the patentee] an opportunity to depose [the expert], relying on his

declaration, and then faulting [the patentee] for failing to rebut his opinion.” Id.

      The Fourth Circuit has repeatedly held that expert testimony is properly

excluded absent a timely-served report. In Wilkins v. Montgomery, the Fourth

Circuit affirmed the district court’s exclusion of an expert witness because the

witness disclosure “failed to provide . . . any concrete explanation of [the witness’s]

potential testimony” and was not made until “after the agreed-upon expert disclosure

date, after discovery was closed,” and after summary judgment. 751 F.3d 214, 223

(4th Cir. 2014). Similarly, in Southern States Rack, the Fourth Circuit held that “the

district court did not abuse its discretion in excluding [expert] opinion based on Rule

37(c)(1)” where the expert presented a new opinion during trial. 318 F.3d at 599.

      Against this backdrop, there is no doubt that the court abused its discretion in

allowing Collins to testify. See Southco, 611 Fed. App’x at 688; Wilkins, 751 F.3d

at 223; S. States Rack, 318 F.3d at 599. This abuse of discretion was particularly


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problematic with respect to Collins’ testimony regarding non-infringement – an

issue in which the jury found in Burton’s favor. Appx129-131. It is undisputed that

Collins never provided any non-infringement expert reports before discovery closed.

Appx2538(98:14-23). Collins admitted as much during trial:

       Q.     Prior to today, you never issued an expert report applying the Court’s
              claim constructions regarding your non-infringement positions. Yes or
              no.
       ...
      A.      No, I didn’t.

Id. To the extent Burton argues that Collins’ declaration in support of Burton’s

motion to amend its invalidity contentions (Appx280-318) and claim construction

declaration (Appx1862-1923), both served in 2019, were expert reports, they do not

address infringement. The two mentions of the word “infringe” in the declarations

do nothing more than summarize which claims are asserted (Appx1869, ¶18) or state

that Collins will later provide an “expert report in this case [that] will summarize my

ultimate opinions with respect to both non-infringement and invalidity . . . .”

Appx291(¶35), Appx1869-1870 (summarizing opinions).             No such report was

served during the discovery period.

      It changes nothing that Collins provided a declaration to assist Burton in

opposing summary judgment of infringement in late October 2022. Appx1949-

1955. By that time, discovery had closed, trial was a mere 2.5 weeks away, and

Trudell had already filed its Daubert motion to preclude Collins from testifying for


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failure to serve an expert report.       Appx1955, Appx1748-1764, Appx1744,

Appx2029-2031.      Moreover, despite the October 2022 declaration’s vague

suggestion that Collins’ earlier claim construction and motion to amend declarations

covered non-infringement, they did not. Compare Appx1949-1950(¶ ¶2,4), with

Appx1869-1871, Appx291(¶35) (only references to “infringe[ment]”).

      Collins’ 7-page summary judgment declaration is not the same as an expert

report, which requires, inter alia, “a complete statement of all opinions the witness

will express and the basis and reasons for them” and “the facts or data considered by

the witness in forming them.” Fed. R. Civ. P. 26(a)(2)(B). It contains no citations

and little analysis. Appx1949-1955. Such conclusory testimony should have been

excluded. See Nease v. Ford Motor Co., 848 F.3d 219, 234 (4th Cir. 2017)

(reversing JMOL denial because Neases’ conclusory expert testimony should have

been excluded and, without such testimony, Neases could not prove its case).

      The fact that Collins’ third declaration (Appx1949-1955) was attached to

Burton’s summary judgment opposition changes nothing. Courts in the Fourth

Circuit have consistently rejected such reports. For example, in Swimways Corp. v.

Zuru, Inc., Swimways attached a declaration to its motion for summary judgment,

which it alleged was a “new and improved expert report.” No. 2:13-cv-334, 2014

WL 12573390, at *2 (E.D. Va. July 10, 2014). The court rejected this argument,

finding that the declaration “constitute[d] new evidence that should have been


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disclosed in [the witness’s] initial expert report,” and because the late disclosure was

neither harmless nor substantially justified, exclusion was warranted. Id. at *2-3;

see also MicroStrategy Inc. v. Bus. Objects, S.A., 429 F.3d 1344, 1353 (Fed. Cir.

2005) (finding a supplement to an expert report was correctly excluded where it

“contained new opinions” and “was untimely, having been filed in violation of the

district court’s scheduling order and not being a true supplement to the initial

report”).

      In Akeva L.L.C. v. Mizuno Corp., the district court found that the witness’s

untimely “opinion does not constitute supplementation” because it “cannot accept a

definition of supplementation which would essentially allow for unlimited bolstering

of expert opinions.” 212 F.R.D. 306, 310 (M.D.N.C. 2002). FRCP 26 “does not

cover failures of omission because the expert did an inadequate or incomplete

preparation,” and “[t]o construe supplementation to apply whenever a party wants

to bolster or submit additional expert opinions would [wreak] havoc [on] docket

control and amount to unlimited expert opinion preparation.” Id.

      Here, Burton had the same opportunity as Trudell to prepare expert reports,

and expressly stated that it would NOT do so. Appx2031 (last paragraph confirming

meet and confer discussions). Burton has never offered a “substantial justification”

as required by FRCP 37(c)(1) for changing course and serving an untimely new

declaration. Appx3217-3222, Appx3154-3156. And for good reason. It cannot.


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Collins’ post-discovery declaration may have only been 7 pages, but it contained

new and conclusory opinions, and failed to explain any facts or data considered by

him in forming those conclusions. Appx1949-1955. The declaration does not

include any cites, which made it nearly impossible for Trudell to ascertain the bases

for Collins’ new opinions, let alone cross-examine him on those opinions during

trial. See BorgWarner, 750 F. Supp. 2d at 605.

      Several of the opinions that Collins expressed during trial were brand new,

i.e., not even presented in his late-served October 2022 declaration. These entirely

new opinions included those regarding the operation of the Burton flapper valve and

his analogy to an airplane (Appx2516(76:7-24)); his opinions regarding the meaning

of “a vane” (Appx2524-2525(84:1-85:3)) and “translate” (Appx2525-2528(3-85:13-

88:4)); operation of the accused products (Appx2513-2516(73:25-75:4, 76:7-24));

operation of embodiments illustrated in the ’588 Patent (Appx2517-2528)(77:8-

81:22, 82:6-85:3, 85:13-88:8, 88:12-19); and other non-infringement opinions

(Appx2524-2536)(84:1-85:3, 85:13-88:4, 89:5-91:14, 91:20-22, 91:25-93:7, 3-

93:20-96:13)).

      B.     Collins’ Testimony Lacked Support and Should Have Been
             Excluded as Unreliable Under the FRE 702.

      It is well-established that the “district courts’ compliance with Rule 702’s

plain gatekeeping requirement stems not from an arbitrary adherence to a procedural

formality,” but prevents the admission of “[e]xpert evidence [that] can be both


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powerful and quite misleading.” Sardis, 10 F.4th at 283 (quoting Daubert v. Merrell

Dow Pharm., Inc., 509 U.S. 579, 595 (1993)). Collins’ testimony should have been

excluded as unreliable and misleading for at least three reasons.

      The first fatal flaw with the substance of Collins’ testimony is his reliance on

claim constructions other than those set by the court. “It is beyond dispute that claim

construction issues are to be decided by the court” and that it is “improper for an

expert witness to testify before the jury regarding claim construction.” ATEN Int’l

Co. v. Uniclass Tech. Co., 932 F.3d 1364, 1370 (Fed. Cir. 2019); see also CytoLogix

Corp. v. Ventana Med. Sys., Inc., 424 F.3d 1168, 1172 (Fed. Cir. 2005) (holding

expert testimony on claim construction should have been excluded “despite the

agreement of the parties” because the “risk of confusing the jury is high when experts

opine on claim construction before the jury”). While the ATEN court did not “fault

the district court . . . for allowing claim construction to go to the jury” because there

was no objection to the expert testimony, that is not the case here where Trudell

objected several times and, in fact, sought and obtained an in limine ruling from the

court precluding Burton’s witnesses from rearguing claim construction. 932 F.3d at

1370; see Appx3, Appx1956(¶3). The court, however, in a rush to push this case to

the finish line, failed to enforce its own rulings. Appx2526-2537(86:11-23; 97:7-

10). For this reason alone, the jury’s verdict of non-infringement should be vacated.




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      Second, Collins’ testimony should also have been excluded because he

improperly compared the accused products to the particular embodiments depicted

in the figures in the patent specification, as opposed to the asserted claims.

Appx2520-2523(80:8-83:25), Appx2528-2529(88:19-89:4), Appx2533(93:10-19).

As with its earlier objections, Trudell’s counsel timely objected to this line of

testimony during trial, but was overruled with no explanation. (E.g., Appx2521-

2522(81:23-82:4 (overruling objections regarding MIL 7)) and Appx2526(86:11-23

(overruling objection regarding MIL 3)); see also Appx2537(97:7-10 (MIL 3)).)

Such improper comparisons are additional grounds for reversal. E.g., Int’l Visual

Corp. v. Crown Metal Co., 991 F.2d 768, 771-72 (Fed. Cir. 1993) (“Infringement is

determined on the basis of the claims, not on the basis of a comparison with the

patentee’s commercial embodiment of the claimed invention.”).

      Third, even if Collins’ declarations sufficed for disclosure of an expert report

under FRCP 26, his opinions were conclusory and unsupported and thus failed to

meet the indicia of reliability required under FRE 702. See Nease, 848 F.3d at 234.

      “[A] district court, when faced with a party’s objection, must adequately

demonstrate by specific findings on the record that it has performed its duty as

gatekeeper.” Goebel v. Denver & Rio Grande W. R.R. Co., 215 F.3d 1083, 1088

(10th Cir. 2000). Here, the court abdicated its duty as gatekeeper, which calls for

this Court to vacate the judgment of non-infringement. See id.; see also Sardis, 10


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F.4th at 279; Nease, 848 F.3d at 230. Courts across the country have overturned

judgments based on less extreme circumstances. For example, in Goebel, the Tenth

Circuit reversed and remanded for a new trial after finding that the district court

abused its discretion in admitting expert testimony over party objections when

“[t]here is not a single explicit statement on the record to indicate that the district

court ever conducted any form of Daubert analysis whatsoever.” 215 F.3d at 1088;

see   also     Appx2476-2477(36:25-37:15),      Appx1756-1762,       Appx1964-1965,

Appx2521-2522(81:23-82:4), Appx2526(86:11-23), Appx2537(97:7-10).

      Likewise, the Fourth Circuit has held that a district court abuses its discretion

in admitting expert testimony “without engaging in the required Rule 702 analysis.”

Sardis, 10 F.4th at 279. In Sardis, the defendants argued that the “experts’ opinions

were irrelevant because [one] offered no relevant industry standard, and [the other’s]

testimony was incompatible with Virginia’s failure to warn jurisprudence,” and

“both experts’ failure to test or otherwise authenticate their proximate causation

opinions rendered them unreliable.” Id. The district court nonetheless admitted the

testimony, and the Fourth Circuit reversed, finding that “[t]he district court erred at

the motion in limine stage when it improperly abdicated its critical gatekeeping role

to the jury and admitted [the experts’] testimony without engaging in the required

Rule 702 analysis.” Id. ”Had the district court faithfully executed its Daubert




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responsibilities before or after the jury’s verdict, [Fourth Circuit] precedent would

have compelled it to exclude both experts’ testimony.” Id.

       Against this backdrop, Fourth Circuit precedent should have compelled the

exclusion of Collins’ testimony. The instant abuse of discretion is even more

extreme than Sardis because Collins never issued a written expert report. At best,

Collins provided a 7-page post-discovery declaration that failed to set forth any bases

or reasons for his opinions, any citations to underlying support, the facts or data

considered by him in forming those opinions, or any supporting exhibits.

Appx1949-1955; see, e.g., Nease, 848 F.3d at 234 (finding that “testimony should

have been excluded as it was ‘unsupported by any evidence such as test data or

relevant literature in the field’”).

       This Court should not allow Burton to capitalize on its noncompliance with

the FRCP 26 and FRE 702. To the extent Burton argues that any prejudice is cured

because Trudell crossed Collins on his opinions during trial, that is not true. Fourth

Circuit precedent makes clear that “the ability to simply cross-examine an expert

concerning a new opinion at trial is not the ability to cure.” See S. States Rack, 318

F.3d at 598-99; see also Southco, 611 Fed. App’x at 688 (finding that the “district

court abused its discretion by failing to give Southco an opportunity to depose Dr.

Dornfeld, relying on his declaration, and then faulting Southco for failing to rebut

his opinion”). Here, Trudell’s counsel was forced to prepare for Collins’ cross


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examination in less than an hour and over the parties’ lunch break. The resulting

prejudice was substantial.

      C.     The Prejudice to Trudell in Having Collins                      Testify
             Notwithstanding These Issues Was Substantial.

      Collins was Burton’s only witness who testified as to non-infringement, and

his testimony was conclusory, improper, and confusing. Appx2508-2537(68:1-

97:19). Allowing Collins to testify resulted in substantial prejudice to Trudell that

warrants reversal and remand. See Goebel, 215 F.3d at 1088.

             1.    Without Collins’ Testimony, Trudell Would Have Prevailed
                   In Proving Infringement.

      The prejudice to Trudell from Collins’ untimely and improper testimony is

clear. Through its expert, Trudell presented limitation-by-limitation analysis as to

why Burton’s Accused Products fell within the scope of the claims of the ’588 Patent

as construed by the court. Infra Arg.Sec.III.A.1-III.A.3. The only evidence Burton

presented to counter this showing was Collins’ testimony. Appx2481(41:16-24),

Appx2508-2537(68:1-97:19); see also infra Arg.Sec.III.A.4-III.A.5.           Without

Collins’ testimony, no reasonable jury could have returned a verdict of non-

infringement. Infra Arg.Sec.III.A.6.

      The prejudice caused by Collins’ trial testimony was not cured by his

deposition years earlier or cross-examination at trial. See S. States Rack, 318 F.3d

at 598-99; see also Southco, 611 Fed. App’x at 688. The only opportunity Trudell



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had to depose Collins was in October 30, 2019 and was limited to the opinions he

presented in his claim construction declaration. Appx742(1:20-21). This testimony

was given a year prior to the Markman hearing held in this case, and two years

before a claim construction decision issued on June 14, 2022. Appx14-22. The fact

that Collins was deposed in 2019 with respect to his claim construction opinions is

irrelevant to the non-infringement issues that remained following the Markman

Order. Given the lack of an expert report or an opportunity to depose Collins on his

merits opinions, Trudell’s counsel was forced to cross-examine Collins on his

newly-presented non-infringement opinions during trial, with less than one hour to

prepare, which was unduly prejudicial. Appx2538(98:3-10); BorgWarner, 750 F.

Supp. 2d at 605 (excluding expert testimony because the absence of a written expert

report would subject the other side “to unfair surprise at trial”). Burton represented

that it was not producing expert reports prior to the close of discovery, and should

be held to its decision. Appx2031 (last paragraph). Collins’ testimony should have

been excluded, and the court erred by allowing him to testify about these previously

undisclosed opinions.

             2.     Collins’ Testimony Misapplied               the   Court’s     Claim
                    Construction And Was Prejudicial.

      It is bedrock law that parties are “prohibited from rearguing . . . claim

construction or attempting to use the naked language of the claims—instead of the

district court’s claim construction” at trial. Aero Prods. Int’l, Inc. v. Intex Recreation


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Corp., 466 F.3d 1000, 1012 n.6 (Fed. Cir. 2006). Burton violated this prohibition

multiple times over, notwithstanding the grant of Trudell’s MIL 3 and objections

during trial seeking adherence to the court’s claim construction.             Appx3,

Appx1956(¶3), Appx2526(86:11-23), Appx2537(97:7-10). As evidenced by its

actions leading up to, during, and following the trial, the court had little knowledge

of its own claim constructions, or how they impacted the legal issues presented.

Appx2451(11:3-11:18); see supra SOC.Sec.IV. Consequently, and to Trudell’s

great detriment, the jury received erroneous testimony, contrary to both the court’s

own claim construction, and the overwhelming weight of the evidence presented by

Trudell.

      The construction of disputed claim terms was first determined when the

Magistrate Judge issued a reasoned and thorough 41-page M&R (Appx23-63),

construing the terms at issue including, in relevant part, the following:

      “a vane”: a blade or plate whose primary purpose is to convert kinetic energy
      in the form of fluid movement into rotational movement (Appx38 (rejecting
      Burton’s argument that “a vane” requires more than one vane))

      “rotate relative to the opening”: move a body relative to the opening about a
      point at a fixed radius (Appx42; see also Appx40 (rejecting Burton’s
      argument “limiting the claim language to mean only a full rotation”))

      “translate relative to the opening”: move a body relative to the opening in a
      manner in which all parts of the body move [] the same distance in the same
      amount of time (Appx46)




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      “generally oblong cross-sectional shape”: cross section having a generally
      rectangular or elliptical shape, wherein its larger dimension is longer than its
      shorter dimension (Appx49)

Following Burton’s objections to the M&R (Appx93), the Court overruled Burton

and adopted the M&R in its entirety (Appx14-22), presumably ending all claim

construction debates, and settling as law of the case the constructions to be applied

at trial. Trudell’s MIL 3 (Appx1761-1762, Appx1967-1968), which the Court

granted (Appx1956, Appx2035(3:11-13), Appx3), confirmed that “Burton’s

Witnesses Should be Precluded from Providing Testimony that Seeks to Reargue

Claim Construction.” Appx1956.

      Yet, despite the Court’s adoption of the M&R, and the grant of Trudell’s

MIL 3, claim construction remained amorphous due to Collins’ trial testimony. The

court itself opened the door for Collins’ testimony by suggesting early it placed “no

value” on the magistrate judge’s claim construction decision. Appx2081(10:14-18).

Burton must have perceived an opportunity when the court admitted it had limited

understanding of its own claim construction of the meaning of “a” in the term “a

vane”:

      THE COURT: Say that again. “Any number” and “a” are mutually exclusive,
      aren't they? Or not?
      TRUDELL’S COUNSEL: No. “Any number” means one, two, three, four,
      five.

      THE COURT: All right.



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      TRUDELL’S COUNSEL : And also, Your Honor, just to – to remind you, in
      the claim construction --
      THE COURT: Yeah, tell me about the claims construction. You assume I
      know that fluently. I don’t.
      TRUDELL’S COUNSEL: That’s why I wanted to call something to your
      attention, Your Honor.

      THE COURT: Okay.
      TRUDELL’S COUNSEL: This -- this whole argument that a vane has to mean
      a single vane was made and rejected during claim construction. And so the
      Court interpreted the term vane and “a” means one or more in common patent
      parlance.
Appx2451(11:3-18) (emphasis added).

      As a consequence of the court’s unfamiliarity with its own claim construction,

it was unable to enforce it during Burton’s entire defense, particularly the testimony

of Collins that was untethered to the court’s claim constructions. For example, the

court construed “a vane” broadly to mean “one or more vanes” (Appx32-38), and

Trudell’s objected on the record to testimony in contravention of the court’s grant of

MIL 3. Appx2537(97:7-18). Nonetheless, Burton ignored the claim construction,

and the court allowed Collins to wrongly and misleadingly testify that:

      [T]here is no place where [the ’588 Patent] talk[s] about a – a single vane. It’s
      just not talked about at all. Almost all the references to vanes are either a
      plurality of vanes or adjacent vanes. There’s one reference to vanes that say
      it can be any number, but that any number, as it shows examples of five, six,
      seven, eight. So it clearly shows, you know, you can have eight or ten. It’s
      not specific to the number, but it’s got to be more than -- it’s got to be more
      than one.




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Appx2536-2537(96:24 to 97:6) (emphasis added). Collins’ testimony to the jury

about “a” having to be “more than one” was squarely at odds with the court’s claim

construction, and was highly misleading and prejudicial. Appx32-38 (finding that

“a vane” should be interpreted broadly to mean “one or more vanes”).

      Notwithstanding the court’s claim construction that “nothing in the claim

language requires a complete revolution,” Collins argued the contrary to the jury,

testifying that “rotate” required that the blocking segment go “round and round and

round.” Appx2528(88:23-24), Appx38-42, Appx18-19. Collins was repeatedly

permitted to argue non-infringement on the basis that Burton’s device did not

perform a complete revolution in one direction:

      “indeed it [Accused Product] rotates, but as we’ve heard, it oscillates.
      It goes back and forth. And what the – what the patent teaches is that
      when you hit those vanes, there’s a force in one direction and that
      causes a vane to rotate, but it rotates only in one direction. It goes
      round and round and round. . . it drives the rotation only in one
      direction versus something that oscillates back and forth” Appx2528-
      2529(88:13-89:4)(emphasis added); and,

       “[s]o as you read the claim, the claims protect what you’re – what
      you’re – what you’re teaching the world. And for all of the – the – the
      claims that are related to the breath-actuated devices, what the patent
      teaches is to have rotation – have a force in one direction, and that
      means had movement in that – in that one direction, and it goes over
      and over again.” Appx2533(93:7-19)(emphasis added).

Collins’ testimony to the jury about “rotation” was squarely at odds with the court’s

claim construction, and was highly misleading and prejudicial.




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      Collins’ explanation to the jury concerning the claim term “translate” was

entirely misplaced.    Rather than address the court’s actual construction of

“translate,” Collins jumped into inapplicable and confusing analogies relating to a

Ferris wheel and a spiraling football, which confusion was further compounded by

Collins’ exchange with the Court regarding a “knuckleball” baseball pitch, and

whether Hoyt Wilhelm or Wilbur Wood invented that pitch. Appx2525-2528(85:13-

88:8). Collins inaccurately suggested that the Accused Products “can’t rotate and

translate at the same time.”     Appx2526(86:6-9).       This argument was wrong,

irrelevant, misleading, and confusing to the jury. The issue was “transla[tion],” and

Collins never applied the court’s claim construction of that term or addressed

Durgin’s infringement analysis. Appx2532(92:10-15).

      Here, the only testimony on non-infringement came from Collins who

repeatedly relied on claim constructions other than those entered by the court.

Appx2477(37:8-15), Appx2508-2537(68:1-97:19).            A non-infringement verdict

based on an erroneous claim construction warrants reversal. See Union Carbide

Chems. & Plastics Tech. Corp. v. Shell Oil Co., 308 F.3d 1167, 1179 (Fed. Cir.

2002). The court’s abuse of discretion in permitting Collins free-rein to testify

contrary to its claim constructions and untethered by a prior expert report, confused

and misled the jury. This untimely and improper testimony was contrary to the clear

weight of the evidence presented by Trudell and prejudiced Trudell.


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III.   The District Court Erred in Denying Trudell’s Motion for Renewed
       JMOL With Respect to Infringement and Motion for New Trial.
       It is axiomatic that “the authority of courts of appeals to direct the entry of

judgment as a matter of law extends to cases in which, on excision of testimony

erroneously admitted, there remains insufficient evidence to support the jury’s

verdict.” Weisgram v. Marley Co., 528 U.S. 440, 457 (2000). Here, Burton’s only

evidence of non-infringement came from Collins and, as established earlier, had

Collins been properly excluded, Burton would have had no other evidence of non-

infringement in the record for a jury to return a verdict in its favor. See supra

Arg.Sec.II.

       The court erred in denying Trudell’s renewed JMOL motion that Burton’s

Accused Products infringe the asserted claims of the ’588 Patent. The court’s order

is replete with errors. For instance, the Order references how “the parties presented

conflicting testimony regarding what qualified as a ‘vane’” during trial (Appx9), but

the fact that the trial judge even allowed this “conflicting testimony” was error

because Collins never timely disclosed any non-infringement opinions prior to trial.

See supra Arg.Sec.II. It is blackletter law that parties are not to reargue claim

construction in front of the jury, Aero, 466 F.3d at 1012 n.6. Indeed, the trial judge

had even granted Trudell’s motion in limine that sought to prevent this exact

situation. Appx3, Appx1956(¶3).




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      Trudell’s expert, Durgin, provided detailed testimony about how Burton’s

Accused Products satisfied all of the limitations of asserted claims 1-7, 9, and 18.

Appx2310-2354(87:8-131:20).        Burton did not substantively question any of

Durgin’s infringement analysis on cross-examination nor impeach any of his

testimony. See infra Arg.Sec.III.A.4. Burton’s expert, Collins, similarly did not

provide any proper basis for the jury to reject Durgin’s testimony, as Collins’

testimony was untethered to from the claim language, failed to apply the court’s

claim construction, failed to address Durgin’s doctrine of equivalents testimony and,

to the extent it even remotely approached the subject of non-infringement, failed to

contradict any of Durgin’s testimony. See infra Arg.Sec.III.A.4-II.A.5.

      A.     In View of Trudell’s Overwhelming Evidence of Infringement of
             Claims 1-7, 9, and 18, No Substantial Evidence Exists for a
             Reasonable Jury to Have Found Non-Infringement.

      “When an expert opinion is not supported by sufficient facts to validate it in

the eyes of the law . . . it cannot support a jury’s verdict.” Brooke Grp. Ltd. v. Brown

& Williamson Tobacco Corp., 509 U.S. 209, 242 (1983). Indeed, this Court has held

that “[c]onclusory expert testimony does not qualify as substantial evidence.” TQ

Delta, LLC v. CISCO Sys., Inc., 942 F.3d 1352, 1358-59 (Fed. Cir. 2019) (collecting

cases); see also Whitserve, LLC v. Computer Packages, Inc., 694 F.3d 10, 24 (Fed.

Cir. 2012) (“[G]eneral and conclusory testimony is not enough to be even substantial

evidence in support of a verdict, . . .”); Imperium IP Holdings (Cayman), Ltd. v.



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Samsung Elecs. Co., 757 Fed. App’x 974, 979 (Fed. Cir. 2019) (“[U]nder the

requirement of substantial evidence, a jury’s rejection of expert testimony must have

some reasonable basis.”).

      Here, Burton failed to contradict Trudell’s overwhelming evidence of

infringement, and the record confirms that the jury’s finding of non-infringement

lacks any reasonable basis.

             1.    The Accused Products Include All of the Limitations of
                   Claims 1-7.

      Durgin’s testimony established how each of the limitations of asserted

claims 1-7 were present in Burton’s Accused Products. Appx2868, Appx2889.

First, Durgin testified that all of Burton’s Accused Products (the vPEP®, vPEP®

HC, PocketPEP®, and iPEP®) have “the same inner workings” as one another, i.e.,

“the same valve assembly and the same mechanism that provides the pulsations of

pressure to loosen mucus in the lungs . . . .” Appx2311(88:21-24); see also

Appx2616-2619. Durgin then applied the court’s claim constructions (Appx2314-

2316(91:25-93:4)) to explain how each of the Accused Products met each limitation

of claims 1-7. Appx2318-2334, Appx2349-2354(95:3-111:9 (claim 1); 126:6-131:9

(claims 2-7).)

      With respect to independent claim 1, while the preamble was not found to be

limiting, Burton admitted that its vPEP® device is a respiratory treatment device.




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Appx2844; see also Appx2681, Appx2683, Appx2685, Appx2689, Appx2857.4

Durgin’s testimony further confirmed that all of the Accused Products are

respiratory treatment devices. Appx2318-2320(95:3-97:1).

      Similarly, Durgin explained how Burton had admitted that its accused vPEP®

device, and by extension all of the Accused Products, include the first three

limitations of claim 1: (1) an inlet configured to receive exhaled air into the device

(Appx2320-2321(97:2-98:21), Appx2844, Appx2858); (2) an outlet configured to

permit air to exit the device (Appx2321-2322(98:22-99:15), Appx2844-2845,

Appx2859)5; and “an opening positioned in an exhalation flow path defined between

the inlet and the outlet” (Appx2845, Appx2322-2323(99:17-100:15), Appx2860).

      With respect to the “blocking segment” limitation (fourth limitation), Durgin

explained how the Accused Products contain the claimed blocking segment.

Appx2861, Appx2616-2619.          In doing so, he properly applied the court’s

construction for the term “rotate relative to the opening” (Appx2323-2324(100:17-

101:24)) to explain how the blocking segment moves relative to the opening of the

device about a fixed radius (Appx2324-2325(101:24-102:16)), and how the blocking

segment of the accused products transitions between a closed and open position to


4
 Each of independent claims 9 and 18 also include the same preamble language, and
are present for the same reasons. Appx158-159.
5
 Each of independent claims 9 and 18 also include these same limitations.
Appx158-159.


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create a restricted or less restricted air flow and create back pressure in the patient’s

lungs.     Appx2323-2324(100:17-101:23).         Consistent with the court’s claim

construction, Durgin further explained that the “blocking segment” does not require

any specific degree of rotation to be satisfied and, as such, does not require a full

revolution as stated by Collins. Appx2325-2326(102:17-103:10)

         With respect to the limitation requiring “a vane” (fifth limitation), Durgin

identified the component of the accused products that is the claimed vane

(Appx2326-2328(103:18-105:22, Appx2862, Appx2616-2619)), applied the court’s

construction for the term “a vane” (Appx2326-2327(103:18-104:15)), and explained

how the identified vane of the accused product rotates the blocking segment between

the closed and open position, in accordance with the court’s construction.

Appx2327-2328(104:13-105:22), Appx2863.              Durgin further explained how

Burton’s own user manuals supported his understanding as to why the identified

vane satisfied the “vane”       limitation as construed by the court.        Appx2681,

Appx2683, Appx2685, Appx2688. He also explained how Burton’s own patent

application directed to the flapper of the Accused Products confirms that, when

operated on by pressure and air flow principles, the flapper is responsible for rotating

the blocking segment between the closed and open positions.                  Appx2864,

Appx2328-2330(105:23-107:1), Appx2658-2660(3:10-12, 3:48-51, 5:54-57, 7:62-

66).


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      In addition to performing a literal infringement analysis, Durgin testified as to

how this fifth limitation requiring “a vane” is present in the Accused Products under

the doctrine of equivalents.     Appx2330-2332(107:11-109:1), Appx2866.             As

discussed in further detail below, Collins did not rebut any of Durgin’s doctrine of

equivalents analysis with respect to this limitation. Appx2546-2547(106:21-107:1).

In fact, Collins did not even mention the word “equivalent” during his direct.

Appx2508-2537(68:8-97:19).

      Finally, with respect to the final limitation of claim 1, Durgin testified that

upon visual inspection of each of the Accused Products, the surface of the blocking

segment is “substantially bigger than the size of the opening.” Appx2332(109:2-

22). Thus, the evidence showed the Accused Products contained every limitation of

claim 1. See Appx2857-2868.

      With respect to dependent claims 2-7, Durgin testified as to how the accused

products included the structure of each of these claims. See Appx2349-2354(126:6-

131:4).

             2.    The Accused Products Include All of the Limitations of
                   Claim 9.
      Durgin’s testimony established how each limitation of asserted claim 9 was

present in Burton’s Accused Products. Appx2344(121:8-15), Appx2876. Durgin

testified that the preamble, first, second, and fifth limitations of claim 9 are also




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found in claim 1 and, as a result, these are satisfied for the same reasons as claim 1.6

Appx2334-2335, Appx2344(111:10-112:4, 121:1-7).

      Claim 9’s third limitation recites “having a generally oblong cross-sectional

shape.” Appx158(12:53-54). Durgin explained how, under the court’s construction,

this limitation is present in the Accused Products because each has an “opening that

[is] not perfectly rectangular” and “not elliptical” but “rectangular with some

rounded corners,” i.e., “generally rectangular or elliptical,” which “fit[] perfectly

into Claim Element 9.3.” Appx2335-2336(112:16-113:10), Appx2870, Appx2375-

2377(152:25-154:1). While Collins did attempt to rebut this particular testimony, it

was through an argument about how Burton’s Accused Products have a shape

resembling a race track.      Appx2528(88:9-11).       As explained previously, this

testimony was untimely and failed to apply the Court’s claim construction. See

supra Arg.Sec.II.

      Claim 9’s fourth limitation requires that the blocking segment’s configuration

“translate relative to the opening.” Appx158(12:57-58). Again, applying the court’s

construction, Durgin testified as to how this limitation is satisfied by the Accused

Products under the doctrine of equivalents because each of them satisfy the function-

way-result test:


6
  Unlike claim 1, a finding of infringement for claim 9 does not require a finding that
the Accused Products contain “a vane.” See Appx2375(152:19-21).


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   x function: “So clearly the blocking segment of the accused device does restrict

      the flow of air through the opening.”;

   x way: “[S]ince the air – flow of air exiting the opening along the shortest

      dimension by the movement of blocking segment as required by the – by the

      claim element, the same thing happens in the accused product.”; and

   x result: “[T]he result is that the cross-sectional area through which the flow

      can take place out of the opening is reduced uniformly by the movement of

      the blocking segment and which – which meets the element of the claim as

      well”)

Appx2342-2343(119:8-120:5). Durgin alternatively explained how the Accused

Products met this “translate” limitation under the insubstantial differences test.

Appx2343(120:20-25) (“Q. And it’s meeting – in the accused products, it’s meeting

the doctrine of equivalents because there’s an insubstantial difference in the – the

way and in the result that the accused products are accomplishing that function of

restricting the flow. A. That’s correct.”). Yet again, Collins offered no rebuttal

testimony to Durgin’s doctrine of equivalents analysis for this limitation.

Appx2545-2546(105:13-106:11).

               3.   The Accused Products Include All of the Limitations of
                    Claim 18.

      Durgin’s testimony also established how each limitation of asserted claim 18

was present in Burton’s Accused Products. Appx2882, Appx2344-2348(121:20-

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125:22). Durgin testified that the preamble and first three limitations of claim 18

are also found in claim 1 and, as a result, these are satisfied for the same reasons as

claim 1. Appx2344-2345 (121:20-122:3), Appx2877.7

      The fourth limitation of claim 18 is similar to the fourth limitation of claim 9,

which both recite a blocking segment configured to “translate relative to the

opening” except claim 18 lacks the additional requirement of claim 9 that the

translation occur “along the shorter first dimension.” Appx2878. Durgin testified

that this limitation of claim 18 is present in the Accused Products under the doctrine

of equivalents for the same reasons as claim 9.           Appx2345(122:11-13 (“So

irrespective of the way the blocking segment moves, Claim 18.4 is met by the

accused device under the doctrine of equivalents.”)).

      The fifth limitation of claim 18 is directed to how the blocking segment fits

against the opening when the blocking segment is in the closed position.

Appx159(14:1-3). Applying the court’s claim construction, Durgin explained via

photographic evidence how the blocking segment in each of the Accused Products

mates with the respective product’s opening.        Appx2345-2346(122:14-123:22),

Appx2617, Appx2879. Durgin further testified that such a mating configuration is



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  Like claim 9, a finding of infringement for claim 18 does not require a finding that
the Accused Products contain “a vane.” See Appx2348-2349(125:26-126:5),
2375(152:22-24).


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consistent with how Burton’s patent describes and covers the Accused Products.

Appx2346-2348(123:13-125:2), Appx2659(5:54-63), Appx2880, Appx2660(7:4-9),

Appx2812-2813, Appx2820-2821.

      Finally, Durgin testified that the sixth and final limitation of claim 18 was

present in each of the Accused Products for the same reason as claim 1’s similar,

final limitation. Appx2348 (125:7-15), Appx2881.

             4.    Burton Did Not Challenge or Impeach Durgin’s
                   Infringement Analysis During Cross-Examination.

      Nothing during Durgin’s cross-examination rebutted his infringement

analysis.    Appx2356-2374(133:14-151:23).         The cross-examination focused

primarily on invalidity – despite Durgin not having testified on that issue during his

direct examination. E.g., Appx2357-2358(134:17-135:7). With respect to other

issues like infringement, Burton did not challenge Durgin, but instead asked him a

series of irrelevant questions that served no purpose other than to confuse the jury

about claim construction. For example, with respect to claims 1-7, which require “a

vane,” Burton’s counsel questioned Durgin as to whether “Trudell is alleging that

the patent claims a single-vane device.” Appx2358(135:19-20). He also asked

whether “in the context of the patent, rotate relative to the opening means like a

waterwheel.” Appx2364(141:13-14). These questions were both resolved – in the

negative – by the court’s claim construction ruling. Appx38 (interpreting the term

‘a vane’ broadly to mean “one or more vanes”), Appx40 (“the specification here


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should not be read as limiting the claim language to mean only a full rotation”).

Such questions did nothing more than confuse the jury through inappropriate claim

construction re-argument.

      While Burton did question Durgin in a limited capacity about the “blocking

segment” limitation, the questioning did not undermine Durgin’s testimony.

Appx2360-2363(137:24-140:17. Durgin was consistent in his explanation that,

when the blocking segment is initially closed in the Accused Products, there is no

air flow through the device, just as required by the claims. E.g., Appx158(12:52-

62), Appx2362(139:5-7) (“just like the valve on the side of my house that controls

the water flow, if the valve is closed there is no flow”). He also explained, consistent

with his direct testimony, that the air pressure building up in the device causes the

blocking segment to initially open. Appx2362(139:17-18)(“[t]he air pressure

pushes against the face of the blocking segment and begins to open the valve)

(emphasis added).

             5.     Collins’ Conclusory, Prejudicial and Untimely Disclosed
                    Opinions Failed to Rebut Durgin’s Testimony.
      Collins’ rebuttal testimony, which should have been excluded, see supra

Arg.Sec.II., did not suffice to present substantial evidence support for a verdict of

non-infringement. Brooke, 509 U.S. at 242; TQ Delta, 942 F.3d at 1358; Imperium,

757 Fed. App’x at 979. When he actually got around to testifying about the ’588

Patent’s claim language, Collins argued four purported claim requirements were


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missing in the Accused Products, specifically: (1) “a vane,” (2) “blocking

member”/“segment,”       (3)    “translate”/“rotate,”    and     (4) rectangular/elliptical.

Appx2524-2526(84:15-86:15), Appx2528(88:9-10).                 Yet, his testimony about

infringement was devoid of the proper context – the court’s claim construction.

Appx2508-2537(68:9-97:19), Appx14-63. The table below identifies those terms

and claims to which Collins’ improper arguments relate.

                  Term                                   Independent Claims
 a vane                                       1
 blocking member/segment                      1, 9, 18
 translate/rotate                             1, 9, 18
 rectangular/elliptical                       9

      Even if not untimely, Collins’ testimony with respect to each of these four

limitations does not suffice for a reasonable jury to find non-infringement.

Appx2508-2537(68:9-97:19). As discussed previously, much of Collins’ testimony

about “a vane” amounted to rearguing claim construction. See supra Arg.Sec.II.C.2.

His other testimony regarding “a vane” was comprised of general observations about

airflow acting on a vane that did not amount to substantial evidence of non-

infringement.      Appx2524-2525(84:15-85:3),            Appx2531(91:13-24).          Such

conclusory expert testimony is “inadequate as substantial evidence.” See TQ Delta,

942 F.3d at 1359 n.5 (collecting cases).

      Collins’ testimony with respect to “blocking segment” improperly argued that

the component of the Accused Products that Durgin identified as the blocking


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segment was instead part of the vane. Appx2525(85:4-12). But the Federal Circuit

has held that the same component of an accused device can meet more than one

limitation. Retractable Techs., Inc. v. Becton, Dickinson & Co., 653 F.3d 1296, 1303

(Fed. Cir. 2011) (rejecting argument that “needle holder” and “retainer member”

claim elements “must be separate pieces”).

      Collins’ testimony with respect to “rotate” was flawed for at least two reasons.

First, Collins impermissibly, and contrary to the court’s claim construction, testified

that rotate relative to an opening, as required by the language of claim 1, requires

movement “only in one direction” and that the claimed blocking segment must go

“round and round and round” (Appx2528(88:23-24)) – in other words, it must

complete 360 degrees of rotation. The court’s construction of this term to mean

“move a body relative to the opening about a point at a fixed radius” (Appx18-19)

says nothing of the sort, and, in fact, its claim construction order expressly rejected

the exact argument Collins made to the jury. Appx38-42; see also Phillips v. AWH

Corp., 415 F.3d 1303, 1318 (Fed. Cir. 2005) (“[A] court should discount any expert

testimony ‘that is clearly at odds with the claim construction . . . .’”).

      Second, Collins’ testimony on the limitation requiring “rotat[ion]” relative to

an opening was conclusory. Collins simply stated that the Accused Products did not

satisfy this limitation. Appx2533(93:7-19). Collins never applied the court’s




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construction for this phrase, and entirely ignored Durgin’s detailed explanation of

how the Accused Products satisfy this limitation.

      Collins’ testimony with respect to “translate” likewise was insufficient to

support the jury’s verdict. First, Collins attempted to reargue claim construction by

testifying that “translate relative to the opening” means “maintaining the same

orientation the whole time.” Appx2525-2526(85:13-86:16). This was not the

court’s construction. Appx46, Appx14 (adopting M&R in its entirety). Second,

Collins’ testimony was conclusory, and simply alleged the limitation was not

present, without any explanation as to why it was missing, or any challenge to

Durgin’s testimony. Appx2532(92:8-15 (claim 9)), Appx2532-2533(92:23-93:3

(claim 18)).

      Nor can the jury’s verdict of non-infringement for claim 9 stand based on

Collins’ testimony that “the opening is supposed to be rectangular or elliptical.”

Appx2528(88:9-10). The court construed claim 9 to require a “cross section having

a generally rectangular or elliptical shape, wherein its larger dimension is longer

than its shorter dimension.” Appx49 (emphasis added). Collins’ testimony omits

the qualifying term “generally” in an attempt to narrowly re-construe the term to

strictly require a rectangular or elliptical shape.      Appx2528(88:9-11). Collins’

testimony based on an unduly limited re-construction of claim 9 cannot support the

non-infringement verdict. Id.


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      Finally, even if the limitations requiring “a vane” (claim 1) and “a blocking

segment configured to translate relative to the opening” (claims 9 and 18) were not

literally present, Collins   never addressed or rebutted Durgin’s doctrine of

equivalents testimony with respect to each of these limitations. Appx2546(106:16-

25 (no DOE analysis for the “a vane” limitation), 106:6:11 (no DOE analysis for

blocking segment configured to translate limitation).

            6.     The Court Should Have Granted JMOL of Infringement.

      Based on Durgin’s detailed, unchallenged, and nonimpeached infringement

testimony, and the lack of admissible evidence from Burton, Trudell moved for

JMOL because no reasonable jury could have concluded that Burton’s Accused

Products did not infringe the ’588 Patent’s asserted claims. Appx3038-3142. In its

JMOL opinion, the court stated that “the jury was not required to decrypt the record

to uncover Trudell’s ‘strong case of infringement,” and “the parties presented

conflicting testimony regarding what qualified as a ‘vane.’” Appx8, Appx9(n.2).

      The court erred in its reasoning. Appx7-13. First, the court’s opinion fails to

identify, what if anything needed to be decrypted – the opinion fails to identify a

single claim limitation that is missing from the Accused Products. Appx8-9.

Second, the court was wrong to give any credence to Collins’ testimony. Appx11-

13; see also Brooke, 509 U.S. at 242. Collins’ testimony was unsupported by any

factual analysis in a underlying expert report, repeatedly applied incorrect claim



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constructions, and failed to rebut Durgin’s testimony concerning infringement,

especially with respect to his DOE analyses.        Appx2546(106:16-25 (no DOE

analysis for the “a vane” limitation), 106:6:11 (no DOE analysis for blocking

segment configured to translate limitation). In view of this, insufficient evidence

exists as a basis for a reasonable jury to find non-infringement.             See supra

Arg.Sec.III.A. Similarly, the court’s opinion that “conflicting testimony” was

presented as to what “qualified as a ‘vane’” (Appx9 n.2) is wrong as Burton

presented no such evidence in view of the court’s construction of that term.

Appx2508-2537(68:9-97:19), Appx16-18. The purported conflicting testimony is

also irrelevant with respect to claims 9 and 18, which do not require “a vane.”

Appx158(claims 9 and 18).

      Given the court’s claim constructions (Appx14-63), and the unrebutted and

unimpeached     testimony    from    Durgin     (Appx2306-2377(83:2-154:15)),       no

substantial evidence exists for a reasonable jury to have found non-infringement

with respect to Burton’s Accused Products. Brooke, 509 U.S. at 242; TQ Delta, 942

F.3d at 1358; Imperium, 757 Fed. App’x at 979.

      B.     The Court Should Order A New Trial Because Letting the Jury’s
             Verdict of Non-Infringement Stand is Against the Clear Weight of
             the Evidence and Would Result in a Gross Miscarriage of Justice.
      To the extent this Court finds that JMOL on infringement is not warranted,

the record establishes that the jury’s verdict of non-infringement is against the clear



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weight of the evidence, which at a minimum should warrant a new trial. See Apple,

25 F.4th at 971; Williams, 266 F.2d at 392-93. As explained below, none of the

reasons the court gave for denying Trudell’s new trial motion has merit. Appx6-13.

             1.     The District Court Abused Its Discretion in Finding that the
                    Trial Judge’s Objectionable Statements Made to the Jury
                    Did Not Result in Unfair Prejudice to Trudell.
      A new trial is warranted because the court made comments to the jury that

“actually or seemingly influence[d] a jury to forego their conscientious convictions

in order to reach a verdict when at an impasse.” See Witco Chem. Corp. v. Peachtree

Doors, Inc., 787 F.2d 1545, 1548 (Fed. Cir. 1986). Such “[i]mproper conduct of the

court that is prejudicial will warrant a new trial.” Id. In Witco, the court recalled a

jury that had reached an impasse on infringement weeks earlier to again deliberate

on infringement. Id. at 1548-49. This Court vacated the verdict and ordered a new

trial because “[t]his sequence of events seemingly coerced the jury into reaching a

verdict, any verdict, for the sake of reaching an agreement, any agreement, in order

to end the trial.” Id. (emphases in original). Similarly, other courts have recognized

that comments by the trial judge influencing jurors to deliberate quickly constitute

error. E.g., Lucas v. Am. Mfg. Co., 630 F.2d 291, 293 (5th Cir. 1980) (“find[ing]

that the attempt by the trial court to secure a quick verdict prevented fair and

thoughtful deliberation by the jury”); Burroughs v. United States, 365 F.2d 431, 434




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(10th Cir. 1966) (entreating jury to strive toward a verdict by a certain time held

reversible error).

      Here, the trial judge made statements to the jury indicating his impatience to

end the trial quickly, including:

   x THE COURT to JURY: “But I would say we would certainly finish this week,
     if not sooner. . . . Juries typically serve for one to three days in this district.
     And the whole purpose is to come to a resolution of it, to come to a decision.”
     Appx2104(33:13-23) (emphasis added).

   x THE COURT to JURY: “[I]t’s painful. My gosh. I should have put time
     limits . . . so that they’d have to be efficient and get the information to you
     and then let you decide this week. And we have Veterans Day, which is
     important, and we’re not going to have court on that day. . . . I don’t think
     they understand they have to get through this case.” Appx2305(82:1-8)
     (emphasis added).
These statements by Judge Boyle served “to hurry and coerce the jury into a verdict”

and constitute reversible error. See United States v. Diamond, 430 F.2d 688, 697

(5th Cir. 1970).

      The court’s post hoc explanation of its comments in its order denying

Trudell’s motion for a new trial do not withstand scrutiny. Appx10-11. The court

defended the above comments as merely informing the jury “it expected the jury to

begin deliberation by the end of the week.” Appx10 (emphasis in original). But, as

shown by the block quotes above, those were not the words the court actually used

and the jury heard. Appx2104, Appx2305. The above statements were paired with

other comments by the trial judge expressing exasperation at how long the trial took.



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Supra SOC.Sec.IV.B; see Appx2305(82:1-8), Appx2356(133:3-8), Appx2473-

2474(33:20-34:1). It also likely was not lost on the jury that the court was so rushed

that it did not provide needed jury instructions. Appx106-128. Indeed, the court

skipped the a promised charge conference with counsel altogether. Appx2442(2:14-

18), Appx2560-2561(120:22-121:4); see also supra footnote 1.            Against this

backdrop and like Witco, the court’s statements and actions coerced the jury into

reaching a hurried verdict for purposes of “com[ing] to a resolution” by the end of

the week. Appx2104(33:13-23). A new trial is warranted. See Apple, 25 F.4th at

971; Williams, 266 F.2d at 392-93.

             2.    The District Court Abused Its Discretion in Finding Collins’
                   Testimony Admissible.
      In denying Trudell’s new trial motion based on Collins’ improper testimony,

the court stated that Trudell’s “argument is flawed because the jury, not the court,

determines whether an expert is credible and whether the expert’s opinions are

correct.” Appx12 (emphasis added). But it is the admissibility of Collins’ testimony

that is at issue – not the credibility of Durgin’s testimony. The fact remains that

Collins should never have been allowed to testify. See supra Arg.Sec.II. The order

provides no explanation for the court’s ultimate decision to allow Collins to testify

notwithstanding the untimeliness of his opinions and Burton’s violations of the

applicable federal rules. Appx6-13.




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         The court’s order also attempts to justify allowing Collins’ testimony on a few

bases. Id. First, the decision points to the court’s statement that it reserved ruling

on the first day of trial, which purportedly “put[] Trudell on notice that Collins might

testify.” Appx13. The decision cites to no authority to support that two-days’ notice

of possible undisclosed expert testimony at trial cures the lack of a report or

deposition.8 Id. Trudell is aware of none.

         Second, the decision suggests that Collins’ summary judgment declaration

sufficed as a substitute for a timely-served expert report. Id. But, as explained

previously, that declaration was provided nearly a month after the close of discovery,

Trudell had no opportunity to depose Collins, and it contained just 7 pages of

barebones opinions without citations that did not suffice to put Trudell on notice of

“large portions of [Collins’] testimony,” which was highly technical. Id. See also

supra Arg.Sec.II.

         Finally, the court stated that Trudell had previously deposed Collins on claim

construction issues and had the opportunity to cross examine him during trial.

Appx13. But Trudell’s earlier deposition of Collins was limited to issues raised

during claim construction – not non-infringement. Appx3049 n.5. Moreover, the

deposition covered only opinions presented by Collins before the court entered its



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    Collins was not present at trial until the last day. Appx2080(9:5).


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claim construction decision on the 10 disputed terms. Id. The opportunity to cross-

examine Collins with less than an hour over the parties’ lunch break does not cure

the resulting prejudice. Appx2538(98:3-10).

IV.   This Court Should Order Reassignment on Remand.
      Trudell respectfully submits that reassignment to a different trial judge is

appropriate and necessary on remand. Here, reassignment is evaluated under Fourth

Circuit law, which provides for reassignment where “both for the judge’s sake and

the appearance of justice, reassignment furthers the public interest by minimiz[ing]

even a suspicion of partiality.” G.G. ex rel. Grimm v. Gloucester Cty. Sch. Bd., 822

F.3d 709, 726 (4th Cir. 2016), vacated on other grounds by 137 S. Ct. 1239 (2017);

TriMed, Inc. v. Stryker Corp., 608 F.3d 1333, 1343 (Fed. Cir. 2010). In determining

whether reassignment is warranted, the Fourth Circuit considers three factors:

      (1) “whether the original judge would reasonably be expected upon remand
      to have substantial difficulty in putting out of his or her mind previously
      expressed views or findings determined to be erroneous or based on evidence
      that must be rejected”;
      (2) “whether reassignment is advisable to preserve the appearance of justice”;
      and
      (3) “whether reassignment would entail waste and duplication out of
      proportion to any gain in preserving the appearance of fairness.”

Grimm, 822 F.3d at 726; see also Rsch. Corp. Techs. v. Microsoft Corp., 536 F.3d

1247, 1255 (Fed. Cir. 2008) (remanding with instructions to reassign where “the

strongly expressed convictions of the trial court in this case may not be easily and

objectively reconsidered”). Applying these factors, reassignment is appropriate in

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this case to “minimize[] even a suspicion of partiality.” See Beach Mart, Inc. v. L&L

Wings, Inc., 784 Fed. App’x 118, 130 (4th Cir. 2019) (alteration in original).

      In a particularly analogous case, the Fourth Circuit ordered remand in Beach

Mart and reassigned the case because the original judge had made “numerous

objectionable statements” on the record, including:

      x “I will find some way to terminate the case. I don’t know how, but I will
        find a way.”
      x “I’m invested in closure. The law exists for only one purpose – that’s
        finality.”
      x “When is a trial ever preferred to a summary judgment? Never.”
      x “I might just fish around in the case looking for closure and come up with
        it.”
Id. (internal quotation marks omitted). The tone and suggestions to hurry the case

to termination may sound familiar; the same district court judge decided this case as

Beach Mart. Based on these statements, the Fourth Circuit concluded:

      Judge Boyle’s statements indicate that he had no intention of managing a trial
      with respect to any claims in this case. The judge also suggested that the
      parties were “not going to enjoy being in this case,” further undermining the
      appearance of fairness. Given Judge Boyle’s unequivocal opposition to trying
      this case, we think that reassignment to another judge for trial best ensures the
      “appearance of justice.”
Id.

      The Grimm factors likewise weigh strongly in favor for reassignment if a

remand is ordered here. With respect to whether the trial judge would have

“substantial difficulty” in approaching the case differently, this case involves the

same judge as in Beach Mart who made similar statement on the record to those

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warranting reassignment in Beach Mart. Those statements establish that the trial

judge has zero interest in managing this case; that will not change.

      With respect to the second Grimm factor, these same statements undermine

the appearance of justice. Indeed, the trial judge admitted to the parties:

      You know, you’ll – you’ll end up in the Federal Circuit and they’ll flip it and
      who knows what’ll happen. But right now our duty is to get this case done.
      And if you can’t get it done, then I will. You can get it done by settling it. I
      can get it done by having a verdict in it. Who knows? With a jury, we might
      get a hung jury. It might be, you know, nothing at all. Anyway, I'm in the
      business of trials and closure.

Appx2052(20:12-19). The judge also made clear that he had no interest in resolving

the parties’ dispute, but rather sought to punt the case to this Court for resolution:

         THE COURT: Where’s the Federal Circuit, in Washington, DC?
         TRUDELL’S COUNSEL: That's correct, Your Honor. And you've already
         told me that Washington has a problem.
         THE COURT: They’ll end up deciding this.
Appx2560(120:16-20).

      Finally, with respect to the third Grimm factor, reassignment would not result

in undue delay or wasted resources because the trial judge presided over the case for

only 1 of the 4 years of this litigation. Most of his involvement occurred in the last

few months of that year when he rushed the parties to trial (Appx1722(6:1-4)), and

made clear that he had no understanding of the legal issues involved in the dispute.

Appx2451(11:10-11). Under these circumstances, there will be little duplication or




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waste of judicial resources if the case is reassigned. See Beach Mart, 784 Fed. App’x

at 130.

                    CONCLUSION AND RELIEF SOUGHT

      In conclusion, Trudell respectfully requests that this Court reverse the court’s

denial of JMOL on infringement, and remand to a different trial judge for a

determination of damages and injunctive relief. To the extent the Court does not

reverse, Trudell requests that the Court vacate the judgment of non-infringement and

remand for a new trial with instructions that neither Collins nor any expert witness

be permitted to testify on Burton’s behalf.



Dated: July 20, 2023                          /s/ William H. Frankel
                                              William H. Frankel
                                              David P. Lindner
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                           CERTIFICATE OF SERVICE
       I hereby certify that on this 20th day of July 2023, I caused the foregoing brief

to be electronically filed using the CM/ECF system, which will send notification of

such filing to all parties of record.



 July 20, 2023                               /s/ Judy K. He
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                       CERTIFICATE OF COMPLIANCE
      Pursuant to Federal Rule of Appellate Procedure 27(d) and 32(g), I hereby

certify that this document complies with the type-volume limitation of Federal Rule

of Appellate Procedure 27(d)(2)(A) because it contains 13,758 words, excluding the

parts of the Brief exempted by Federal Rule of Appellate Procedure 32(a)(5). This

Brief complies with the typeface requirements of Federal Rule of Appellate

Procedure 32(a)(5) and the type-style requirements of Federal Rule of Appellate

Procedure 32(a)(6) because it was prepared in a proportionally space typeface using

Microsoft Word in 14-point Times New Roman font.



Dated: July 20, 2023                       /s/ Judy K. He
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                     ADDENDUM
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               Motions in Limine
11/7/2022      Oral Order on Motion for                                     Appx4
               Reconsideration
11/9/2022      Oral Order on Motion for                                     Appx5
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                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION


TRUDELL MEDICAL INTERNATIONAL,                       )
                                                     )
                              Plaintiff,             )
                                                     )
       v.                                            )            JUDGMENT
                                                     )           4:18-CV-9-BO
D R BURTON HEALTHCARE, LLC,                          )
                                                     )
                              Defendant.             )
                                                     )

Decision by Court and by Jury.

IT IS ORDERED, ADJUDGED AND DECREED pursuant to this Court’s order entered
August 26, 2021, counter defendant Monaghan's motion to dismiss for lack of jurisdiction is
GRANTED. [DE 196]. The counterclaims against counter defendant Monaghan are
DISMISSED.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED, pursuant to the jury’s verdict:

•      The patent is not invalid because it failed to provide a written description of the invention
       that is claimed by Trudell.
•      The patent is not invalid because it failed to enable one skilled in the art to know how to
       make and use the invention that is claimed by Trudell.
•      The patent is not invalid because the term “vane” is indefinite.
•      The patent is not invalid because the term “rotate” is indefinite.
•      The patent is not invalid because the invention is not a workable invention.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED, pursuant to the jury’s verdict,
D R Burton’s vPEP product does not infringe any of the asserted claims of the patent. D R
Burton’s iPEP product does not infringe any of the asserted claims of the patent. D R Burton’s
Pocket PEP product does not infringe any of the asserted claims of the patent.

This judgment filed and entered on November 10, 2022, and served on:
John Morrow, Jr. (via CM/ECF Notice of Electronic Filing)
William Frankel (via CM/ECF Notice of Electronic Filing)
David Lindner (via CM/ECF Notice of Electronic Filing)
Jafron Fearson (via CM/ECF Notice of Electronic Filing)
Judy He (via CM/ECF Notice of Electronic Filing)
Madison Waller (via CM/ECF Notice of Electronic Filing)
Samuel Hartzel (via CM/ECF Notice of Electronic Filing)



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Albert Allan (via CM/ECF Notice of Electronic Filing)



                                           PETER A. MOORE, JR., CLERK
November 10, 2022
                                           /s/ Lindsay Stouch
                                           By: Deputy Clerk




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                                       Appx2
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                               UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                     EASTERN DIVISION
                                    No. 4: 18-CV-00009-BO

TRUDELL MEDICAL INTERNATIONAL,                        )
                                                      )
               Plaintiff,                             )
                                                      )
       V.                                             )               ORDER
                                                      )
DR BURTON HEALTHCARE LLC,                             )
                                                      )
               Defendant.                             )



       This matter is before the Court on plaintiffs renewed motion for judgment as a matter of

law pursuant to Fed. R. Civ. P. S0(b) or, in the alternative, a new trial pursuant to Fed. R. Civ. P.

59( a). [DE 313]. Defendant responded, and plaintiff replied, and the matter is ripe for disposition.

For the reasons that follow, plaintiff's motion is denied.

                                         BACKGROUND

       The Court dispenses with a full recitation of the background of this case and presumes

familiarity with its factual and procedural history. Trudell has a patent describing a portable

respiratory device that provides oscillating positive expiratory pressure therapy to help remove

excess mucus from airways. Trudell sued Burton for allegedly selling a device (the "vPep") that

infringed on its patent. On November 7, 2022, a jury trial commenced in Elizabeth City, North

Carolina. Trudell presented evidence, including the testimony of Dr. Durgin, who was qualified as

an expert witness. Burton presented evidence, including expert witness testimony from Dr. Collins

and lay testimony from Mr. Lau, the head of D R Burton Healthcare LLC. Defendant's counsel

presented the jury with actual samples of the vPep to show how it differed from the patent. At the

close of Burton's evidence, Trudell moved for judgment as a matter oflaw, which was denied. The

Court held a charge conference, the parties made closing arguments, and the Court instructed the



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jury on the applicable law. After deliberating for two hours, the jury returned its verdict: the patent

was valid, but there was no infringement. Now, Trudell asks the Court to reverse the jury's verdict

pursuant to Fed. R. Civ. P. 50(b). Alternatively, Trudell asks for a new trial pursuant to Fed. R.

Civ. P. 59(a).

                                           DISCUSSION


    I.      Judgment as a matter of law
         Fed. R. Civ. P. 50(b) provides that, upon a party's renewed motion for judgment as a matter

of law after the denial of such a motion during trial, a court may ( 1) allow judgment on the verdict,

(2) order a new trial, or (3) direct the entry of judgment as a matter of law. Fed. R. Civ. P. 50(b).

"[W]hen a jury has returned its verdict, a court may grant judgment as a matter of law only if,

viewing the evidence in a light most favorable to the non-moving party and drawing every

legitimate inference in that party's favor, the court determines that the only conclusion a reasonable

jury could have reached is one in favor of the moving party." Saunders v. Branch Banking And Tr.

Co., 526 F.3d 142, 147 (4th Cir. 2008) (citing Figg v. Schroeder, 312 F.3d 625, 635 (4th Cir.

2002)). A court is not permitted to weigh the evidence or evaluate the credibility of the witnesses

when deciding on a Fed. R. Civ. P. 50(b) motion. Bresler v. Wilmington Tr. Co., 855 F.3d 178,

196 (4th Cir. 2017). "As [Trudell] bore the burden of proof on the question of literal infringement,

to be entitled to judgment as a matter of law it must establish that the evidence was not only

sufficient to meet this burden, but is overwhelming, leaving no room for the jury to draw

significant inferences in favor of the other party." Radtke v. Lifecare Mgmt. Partners, 795 F.3d

159, 165-66 (D.C. Cir. 2015); see Precision Fabrics Grp., Inc. v. Tietex Int'!, Ltd., 367 F. Supp.

3d 487,499 (D.S.C. 2019).




                                                  2

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         Juries in patent cases are put in a unique position given the highly complex nature of the

subject matter. Some juries will understand the underlying technical claims, but many will

struggle. A jury must attempt to weigh the evidence, but a jury is not unreasonable for struggling

to comprehend dense technical evidence. 1 Instead, counsel must present the evidence clearly. If

counsel fails to do so and the jury cannot understand the evidence, the jury may reasonably give

that evidence less weight. Therefore, when the party with the burden of proof fails to present

evidence clearly, a jury may reasonably return a verdict that the party failed to meet the burden of

proof. See Radtke, 795 F.3d at 165-66.

         Trudell requested a jury trial and presented the jury with a voluminous record of technical

evidence. After being steeped in this case for years, this evidence may have seemed straightforward

to Trudell, but the evidence was highly complicated. This jury earnestly attempted to understand

the evidence, but drawing every legitimate inference in favor of the non-moving party, the Court

finds that Trudell did not present the evidence clearly. Without the aid of a clear presentation, the

jury was unable to comprehend such complicated evidence. And as a result, the jury did not fully

understand Trudell's evidence and reasonably found Trudell had not carried its burden to prove

infringement.

         After meticulously citing the record, Trudell argues that "no reasonable jury could have

found non-infringement from the record evidence." [DE 314 at 12]. But the jury was not required

to decrypt the record to uncover Trudell's "strong case of infringement." Perhaps the raw evidence

contained enough for a jury to find infringement, but all that evidence meant very little because it




1
  The Third Circuit has found that there are factual and legal concepts in a case that might be so complex so that any
resolution by a jury would violate due process of law . In re Japanese Elec. Prod. Antitrust litig., 63 I F.2d I 069, 1084
(3d Cir. 1980). However, Trudell does not raise that argument, so the Court need not consider it.

                                                            3

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was not presented clearly.2 Thus, the jury reasonably found Trudell did not carry its burden to

prove infringement, and Trudell's motion for a judgment as a matter of law is without merit.


    II.       New trial
          In the alternative, Trudell motions for a new trial pursuant to Fed. R. Civ. P. 59(a). A

motion for a new trial must be granted where "( 1) the verdict is against the clear weight of the

evidence, or (2) is based upon evidence which is false, or (3) will result in a miscarriage of justice,

even though there may be substantial evidence which would prevent the direction of a verdict."

Atlas Food Sys. & Servs., Inc. v. Crane Nat. Vendors, Inc. , 99 F.3d 587, 594 (4th Cir. 1996). This

Court is permitted to weigh the evidence and consider the credibility of the witnesses when

deciding a motion for a new trial. Cline v. Wal-Marl Stores, Inc. , 144 F.3d 294 , 301 ( 4th Cir. 1998).

The decision to order a new trial is within the trial court's discretion. Whalen v. Roanoke Cnty. Bd.

of Sup 'rs, 769 F.2d 221, 226 (4th Cir. 1985).


          Trudell renews its argument that the jury verdict was against the clear weight of the

evidence. But the Court has already dispatched that argument. Trudell's main argument is that this

Court ' s errors caused a miscarriage of justice, requiring a new trial. Specifically, Trudell points to

the Court's statements and the admission of Dr. Collins' testimony. First, Trudell has failed to

show that the alleged errors were actually errors. Second, Trudell does not connect the alleged

errors with a miscarriage of justice.


(1) Court's statements
      The Court has broad discretion to address witnesses and the jury. Trudell complains that

the Court called its witness's testimony "painful" and questioned its relevance in the jury's


2
  The evidence was not one-sided as plaintiff suggests. During tri al, the parties presented conflicting testimony
regarding what qualified as a "vane." This Court will not revisit these esoteric issues but finds that defendant offered
alternative ways for the jury to interpret of the evidence.


                                                           4

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presence. Trudell also asserts the Court improperly "bifurcated" Trudell 's case in chief by

addressing the witness. The Court's statements were not error. When testimony is irrelevant, the

Court may guide the witness back on track. Fed. R. Evid. 611 (a)(l ). Trudell cites no authority to

the contrary, and even if it had, Trudell failed to show it suffered any prejudice.


         In this civil case, it is within the Court's discretion to set time limits on the parties'

presentation of evidence and inform the jury of the timeline. When describing the jury's expected

time commitment, the Court said that it expected the jury to begin deliberation by the end of the

week. Trudell argues the Court put undue pressure on the jury to reach a verdict when it "[told]

the jury that the trial 'would certainly finish this week, if not sooner,' i.e., in less than 4 days." [DE

314 at 17]. When read in context, the Court's statement was more nuanced than Trudell suggests. 3

And besides, Trudell cites no authority supporting the proposition that informing the jury how long

the trial may last equates to undue pressure on the jury's deliberation. Instead, plaintiff cites Witco

Chem. Corp. v. Peachtree Doors, Inc., 787 F.2d 1545 (Fed. Cir. 1986), a case in which the Federal

Circuit found the district court improperly dismissed a deadlocked jury only to recall them six

weeks later with instructions to reach a decision. It is axiomatic that those facts are inapplicable to

this case.


         Trudell complains that the Court was "disinterested" and "[suggested] no interest in the

relevant physics/science applicable to the technology at issue." Without logical or legal

explanation, this claim deserves no further analysis. Trudell also claims the Court advised the

parties of the right to "take this case up to the Federal Circuit and/or Washington D.C. for




3
  When referring to the parties' presentation of the evidence, the Court said, "I don't have any strong control over
that. I have some control over that. But I would say we would certainly finish this week, if not sooner." [DE 315
33:15-17].

                                                           5

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resolution." Trudell does not explain why advising the parties of their right to appeal warrants a

new trial.

        Trudell argues that the Court committed a procedural error when it failed to notify counsel

of the exact instructions it planned to read to the jury. Again, Trudell cites no authority supporting

their contention that it is entitled to a verbatim copy of the jury instructions. In the charge

conference, the Court informed the parties that it would use a combination of both parties' jury

instructions. Trudell may not have known the precise language the Court would read to the jury,

but it fails to show this caused prejudice (such as by leading Trudell to give a closing argument

that conflicted with the final instructions). In the absence of prejudice, any alleged procedural error

was harmless. Johnson v. Gen. Bd. ofPension & Health Benefits of United Methodist Church, 733

F.3d 722, 732 (7th Cir. 20 l 3). Trudell also argues the Court improperly instructed the jury. As of

the date of this order, Trudell has not identified any specific errors that had a reasonable probability

of affecting the jury's verdict. 4


(2) Dr. Collins's testimony
      Trudell argues it deserves a new trial because this Court erred in allowing Burton's expert

witness (Dr. Collins) to testify. When a new trial is sought based on a purported evidentiary error

by the district court, a verdict may be set aside only if an error is so grievous as to have rendered

the entire trial unfair. United States Equal Emp. Opportunity Comm 'n v. Consol Energy, Inc., 860

F.3d 131, 145 (4th Cir. 2017). Trudell argues that without Dr. Collins' testimony, the testimony of

their expert witness (Dr. Durgin) would have been unrefuted. Therefore, no reasonable jury could

have returned a verdict of non-infringement.




4
 Trudell identifies one allegedly erroneous instruction regarding damages, but there were no damages because there
was no infringement. Therefore, that alleged error was harmless.

                                                        6

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       This argument is flawed because the jury, not the Court, determines whether an expert is

credible and whether the expert's opinions are correct. Syngenta Crop Prat., LLC v. Willowood

Azoxystrobin, LLC, 267 F. Supp. 3d 649, 655 (M.D.N.C. 2017). The opinion of an expert witness

is not conclusive or binding on the factfinder, even if it is unrefuted. Robinson v. Worley, 540 B.R.

568 (M.D.N.C. 2015). Therefore, this jury was not required to find Dr. Durgin's testimony credible

and thus was not bound to return a verdict consistent with his expert opinion.

        On direct, Dr. Durgin attempted to explain infringement using highly complicated charts

and figures. As discussed supra, it is reasonable to infer the jury found this presentation

incomprehensible. The jury was free to disbelieve Dr. Durgin's testimony, particularly based on

defendant's cross-examination, which highlighted some inconsistencies in his testimony.

Precision Fabrics Grp., Inc. v. Tietex Int'!, Ltd., 367 F. Supp. 3d 487,499 (D.S.C. 2019). Given

Dr. Durgin's esoteric testimony and the cross-examination, the jury could have reasonably given

his testimony little weight. Thus, even assuming the admission of Dr. Collins's testimony was

error, it was not so grievous to have rendered the entire trial unfair.

        However, the admission of Dr. Collins's testimony was not error. Trudell argues Dr.

Collins's testimony should have been excluded because he "never prepared any written expert

report on non-infringement as required under Rule 26(a)(2)(B) and (D)." District courts are

accorded "broad discretion" in determining whether a party's nondisclosure or untimely disclosure

of evidence is substantially justified or harmless. Wilkins v. Montgomery, 751 F.3d 214, 222 (4th

Cir. 2014). In making this determination, the Court is guided by the following factors:

        (1) the surprise to the party against whom the evidence would be offered;
        (2) the ability of that party to cure the surprise;
        (3) the extent to which allowing the evidence would disrupt the trial;
        (4) the importance of the evidence; and
        (5) the nondisclosing party's explanation for its failure to disclose the evidence.



                                                   7

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       S. States Rack And Fixture, Inc. v. Sherwin-Williams Co., 318 F.3d 592, 597 (4th Cir.

2003 ). Considering those factors, the Court reaffirms its decision to allow Dr. Collins' s testimony.

After hearing a motion in limine on the matter, the Court "reserve[ d] a ruling on that until the end

of plaintiffs case ... " [DE 315 at 8:25-9: 1]. Indeed, the Court did just that, putting Trudell on

notice that Dr. Collins might testify. Dr. Collins provided a sworn declaration summarizing large

portions of his testimony. Trudell had previously deposed Dr. Collins and had the opportunity to

cross examine him at trial. As a result, the Court was within its discretion to allow Dr. Collins' s

testimony.

       Trudell accuses defense counsel and various witnesses of making several statements that

prejudiced the jury and entitle it to a new trial. [DE 314 at 21-22]. Without logical explanation or

legal citation, Trudell's conclusory statements warrant no further analysis.

       Seeing no evidence of " a miscarriage of justice," the Court denies the motion for a new

trial. Uzoukwu v. Metro. Washington Council of Governments, No. l 1-CV-00391 (CRC), 2017

WL 4712077, at* 1 (D.D.C. July 11, 2017).


                                          CONCLUSION

For the foregoing reasons, plaintiffs motion [DE 313] is DENIED.

SO ORDERED, this      __j_ day of March, 2023.



                                              ~WtA~
                                               ~ ENCEW.B0YLE
                                               UNITED ST A TES DISTRICT JUDO




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                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         EASTERN DIVISION


                                               )
     TRUDELL MEDICAL                           )
     INTERNATIONAL,                            )
                                               )
                 Plaintiff,                    )
                                               ) Civil Action No. 4: 18-cv-009-BO
          vs.                                  )
                                               )
     DR BURTON HEALTHCARE LLC,                 )
                                               )
                 Defendant.                    )




                                       Verdict

           Please answer the questions in order, and follow the instructions
     in order. The instructions are in italics. Your answer to each question
     must be unanimous.


     1.   Is the patent invalid because it failed to provide a written
     description of the invention that is claimed by Trudell?

     Yes- - - -                                 No - - --



     2.    Is the patent invalid because it failed to enable one skilled in the
     art to know how to make and use the invention that is claimed by
     Trudell?

     Yes- - - -                                No - -✓- -

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3.   Is the patent invalid because the term "vane" is indefinite?

Yes- - - -                               No   _ /__
                                                ___,;;_




4.   Is the patent invalid because the term "rotate" is indefinite?

Yes- - - -                               No -   -✓
                                                 - -


5.   Is the patent invalid because the invention is not a workable
invention?

Yes- - - -                               No - - - -



If you answered ''Yes" to any of the above questions (Questions 1-5), then
stop. Do not answer any more questions. Only continue if you have
answered "No" to all of the above questions. If the answer to either of
Questions


6.   Does DR Burton's vPEP product infringe any of the asserted
claims of the patent?

Yes- - - -                             No - -✓
                                               --
If you answered "Yes," specify which claims:_ _ _ _ _ __ _



7.   Does DR Burton's iPEP product infringe any of the asserted
claims of the patent?

                               Page 2 of 3
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.


    Yes- - --                              No _ _ / __
    If you answered "Yes," specify which claims: _ _ _ _ _ _ __



    8.   Does DR Burton's PocketPEP product infringe any of the asserted
    claims of the patent?

    Yes.___                                No     ./
    If you answered "Yes," specify which claims: _ _ _ _ _ _ __



    If you answered ''No" to each of the above three questions (Questions 6-8),
    then stop. Do not answer any more questions. Only continue if you have
    answered ''Yes" to at least one of the above questions.


    8.   What dollar amount, if any, has Trudell proven it is entitled to
    recover as a reasonable royalty for the product(s) that you answered
    "Yes" to in Questions 6-8?



    9.    If you found that D R Burton infringed any of the asserted claims
    of the patent was that infringement malicious, wanton, deliberate,
    consciously wrongful, or in bad faith?

    Yes- - - -                                No - - - -

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                                                                                                US009808588Bl


c12)    United States Patent                                                (10) Patent No.:                     US 9,808,588 Bl
        Meyer et al.                                                        (45) Date of Patent:                             Nov. 7, 2017

(54)    OSCILLATING POSITIVE RESPIRATORY                               (56)                       References Cited
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                                                                                                      (Continued)
(72)    Inventors: Adam Meyer, London (CA); Dan
                   Engelbreth, London (CA)                                           FOREIGN PATENT DOCUMENTS

(73)    Assignee: TRUDELL MEDICAL                                      EP                 0 372 148 Al          6/1990
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( *)    Notice:      Subject to any disclaimer, the term ofthis                             OTHER PUBLICATIONS
                     patent is extended or adjusted under 35
                                                                       U.S. Appl. No. 14/674,494, filed Mar. 31, 2015, Meyer et al.
                     U.S.C. 154(b) by O days.
                                                                                                      (Continued)
(21)    Appl. No.: 15/453,767                                         Primary Examiner - Rachel Young
                                                                      (74) Attorney, Agent, or Firm - Brinks Gilson & Liane
(22)    Filed:       Mar. 8, 2017
                                                                       (57)                     ABSTRACT
                                                                       An oscillating positive respiratory pressure apparatus and a
                                                                       method of performing oscillating positive respiratory pres-
                 Related U.S. Application Data
                                                                       sure therapy. The apparatus includes a housing having an
(63)    Continuation of application No. 13/966,759, filed on           interior chamber, a chamber inlet, a chamber outlet, an
        Aug. 14, 2013, now Pat. No. 9,636,473, which is a              exhalation flow path defined between the inlet and the outlet,
                         (Continued)                                   and a restrictor member rotatably mounted within the inte-
                                                                       rior chamber. The restrictor member has an axis of rotation
(51)    Int. Cl.                                                       that is substantially perpendicular to the flow path at the
        A61M 16100              (2006.01)                              inlet, and includes at least one blocking segment. Rotation of
        A61M 16120              (2006.01)                              the restrictor member moves the at least one blocking
        A61M 16114              (2006.01)                              segment between an open position and a closed position.
(52)    U.S. Cl.                                                       Respiratory pressure at the chamber inlet oscillates between
        CPC .... A61M 1610006 (2014.02); A61M 1610066                  a minimum when the at least one blocking segment is in the
                  (2013.01); A61M 16114 (2013.01); A61M                open position and a maximum when the at least one blocking
                                            161208 (2013.01)           segment is in the closed position. By exhaling into the
( 58)   Field of Classification Search                                 apparatus, oscillating positive expiratory pressure therapy is
                                                                       administered.
        None
        See application file for complete search history.                               26 Claims, 18 Drawing Sheets



                                            530\...




                                    540
                                    L




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                                                      US 9,808,588 Bl
                                                               Page 2


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                                   FIG. I


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                                     FIG. 2



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                                     FIG. 3



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                                      FIG. 4



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          FIG. 5A                    FIG. 5B                  FIG. 5C




                    FIG. 5D                    FIG. 5E




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                                       FIG. 6


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                                        FIG. 7


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                                 FIG. 9




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                              FIG. 10



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                                  FIG. 11




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                                    FIG. 12




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                                    FIG. 13




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                                 FIG. 14




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                                  FIG. 15




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        FIG.16A                  FIG. 16B                  FIG. 16C




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                              FIG. 1 7




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                                      FIG. 1 8




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                              1                                                                  2
     OSCILLATING POSITIVE RESPIRATORY                              with respect to the inlet such that rotation of the restrictor
             PRESSURE DEVICE                                       member moves the at least one blocking segment between
                                                                   an open position where the flow path at the inlet is unre-
                 RELATED APPLICATIONS                              stricted and a closed position where the flow path at the inlet
                                                                 5 is restricted. The respiratory pressure at the chamber inlet
    This application is a continuation of U.S. application Ser.    oscillates between a minimum when the at least one block-
No. 13/966,759, filed on Aug. 14, 2013, pending, which is          ing segment is in the open position and a maximum when the
a continuation of U.S. application Ser. No. 12/472,215, filed      at least one blocking segment is in the closed position.
on May 26, 2009, now U.S. Pat. No. 8,539,951, which                   In another aspect, the OPEP device comprises a shaft
claims the benefit of U.S. Provisional Application No. 10 connecting a source of rotational energy to the restrictor
61/056,358, filed on May 27, 2008, all of which are incor-         member. The source of rotational energy may also comprise
porated herein by reference.                                       a motor adapted to rotate the shaft.
                                                                      In another aspect, the OPEP device includes a second
                     TECHNICAL FIELD                               restrictor member rotatably mounted within the interior
                                                                15 chamber and operatively connected to the shaft, the second
    The present disclosure relates to a respiratory treatment      restrictor member having a at least one blocking segment.
device, and in particular, to an oscillating positive respira-     The shaft is moveable along its axis of rotation to position
tory pressure device.                                              the second restrictor member with respect to the inlet such
                                                                   that rotation of the shaft moves the at least one blocking
                       BACKGROUND                               20 segment on the second restrictor member between the open
                                                                   position and the closed position. A number of blocking
    Each day, humans may produce upwards of 30 milliliters         segments on the restrictor member and a number of blocking
of sputum, which is a type of bronchial secretion. Normally,       segments on the second restrictor member may be different.
an effective cough is sufficient to loosen secretions and clear       In another aspect, the source of rotational energy com-
them from the body's airways. However, for individuals 25 prises a turbine operatively connected to the restrictor mem-
suffering from more significant bronchial obstructions, such       ber and adapted to rotate the restrictor member in response
as collapsed airways, a single cough may be insufficient to        to receiving a flow of air. The OPEP device may also
clear the obstructions.                                            comprise a turbine housing surrounding the turbine, the
    One type of therapy, utilizing oscillating positive expira-    turbine housing having a compressed air inlet configured to
tory pressure ("OPEP"), is often used to address this issue. 30 receive compressed air from a compressed air source and an
OPEP therapy represents an effective bronchial hygiene             exhaust outlet.
technique for the removal of bronchial secretions in the              In yet another aspect, the OPEP device may be configured
human body and is an important aspect in the treatment and         to simultaneously administer both OPEP and aerosol thera-
continuing care of patients with bronchial obstructions, such      pies. The OPEP device may include a respiratory portal in
as those suffering from chronic obstructive lung disease. It 35 fluid communication with the inlet, the respiratory portal
is believed that OPEP therapy, or the oscillation of exhala-       including a mouthpiece and a nebulizer port. The mouth-
tion pressure at the mouth during exhalation, effectively          piece may be proximate the nebulizer port. An inhalation
transmits an oscillating back pressure to the lungs, thereby       flow path is defined between the mouthpiece and the nebu-
splitting open obstructed airways and loosening the secre-         lizer port, wherein the inhalation flow path does not traverse
tions contributing to bronchial obstructions.                   40 the exhalation flow path defined between the inlet and the
    OPEP therapy is an attractive form of treatment because        outlet.
it can be easily taught to most hospitalized patients, and such       In another aspect, the restrictor member is configured to
patients can assume responsibility for the administration of       rotate in response to exhaled air traversing the exhalation
OPEP therapy throughout their hospitalization and also once        flow path. The at least one blocking segment is configured
they have returned home. To that end, a number of portable 45 to move between the open position and the closed position
OPEP devices have been developed.                                  independent of the exhalation pressure at the inlet. The
                                                                   restrictor member may also be removably mounted within
                     BRIEF SUMMARY                                 the interior chamber.
                                                                      In one embodiment, an OPEP device includes a housing
   A portable OPEP device and a method of performing 50 having an interior chamber, a chamber inlet in communica-
OPEP therapy are described herein. The OPEP device is              tion with the chamber, a chamber outlet in communication
configurable to maintain desired operating conditions. A           with the chamber, an exhalation flow path defined between
user may adjust the oscillation frequency by simply replac-        the inlet and the outlet, and a restrictor member rotatably
ing a component of the OPEP device, or by changing the             mounted within the interior chamber, the restrictor member
speed at which that component rotates. Furthermore, admin- 55 having at least one blocking segment and a plurality of vanes
istration of OPEP therapy with the device does not rely on         configured to rotate the restrictor member in response to
the device's physical orientation or the ability of its user to    exhaled air traversing the flow path. The restrictor member
manipulate the device during operation.                            is positioned with respect to one of the inlet or the outlet
    In one aspect, the OPEP device comprises a housing             such that rotation of the restrictor member moves the at least
having an interior chamber, a chamber inlet in communica- 60 one blocking segment between an open position, where the
tion with the chamber, a chamber outlet in communication           exhalation flow path at the one of the inlet or the outlet is
with the chamber, an exhalation flow path defined between          unrestricted, and a closed position, where the flow path at the
the inlet and the outlet, and a restrictor member rotatably        one of the inlet or the outlet is restricted. The exhalation
mounted within the interior chamber. The restrictor member         pressure at the chamber inlet oscillates between a minimum
has an axis of rotation substantially perpendicular to the 65 when the at least one blocking segment is in the open
exhalation flow path at the inlet, and includes at least one       position and a maximum when the at least one blocking
blocking segment. The restrictor member may be movable             segment is in the closed position. The at least one blocking

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segment may have a cross-sectional area greater than a                    BRIEF DESCRIPTION OF THE DRAWINGS
cross-sectional area of the one of the inlet or the outlet. The
housing may include a one-way valve configured to allow               FIG. 1 is a perspective view of a first embodiment of an
air to enter the interior chamber through a valve opening. A       OPEP device with a side portion of the device's housing
center of gravity of the restrictor member may be radially 5 removed;
offset from the axis of rotation of the restrictor member. The        FIG. 2 is a perspective view of the embodiment of FIG.
restrictor member may also be removably mounted within             1 with a top portion of the device's housing removed,
the interior chamber.                                              showing a restrictor member in an open position;
   According to another aspect, a method of performing                FIG. 3 is a perspective view of the embodiment of FIG.
                                                                10 1 with a top portion of the device's housing removed,
oscillating positive respiratory pressure therapy is provided.
The method includes providing an oscillating positive respi-       showing a restrictor member in an intermediate position;
                                                                      FIG. 4 is a perspective view of the embodiment of FIG.
ratory pressure apparatus, which may consist of a housing
                                                                   1 with a top portion of the device's housing removed,
defining an interior chamber, a chamber inlet in communi-
                                                                   showing a restrictor member in a closed position;
cation with the chamber, a chamber outlet in communication 15
                                                                      FIGS. SA-E are top views of various restrictor members;
with the chamber, an exhalation flow path defined between             FIG. 6 is a perspective view of a second embodiment of
the inlet and the outlet, and a restrictor member having at        an OPEP device with a side portion of the device's housing
least one blocking segment and a plurality of vanes. The           removed;
restrictor member is rotatably mounted in the interior cham-          FIG. 7 is a perspective view of a third embodiment of an
ber and positioned such that rotation of the restrictor mem- 20 OPEP device attached to a nebulizer;
ber moves the at least one blocking segment between an                FIG. 8 is a cross-sectional side view of the embodiment
open position where the exhalation flow path at one of the         of FIG. 7;
inlet or the outlet is unrestricted and a closed position where       FIG. 9 is a perspective view of a fourth embodiment of an
the exhalation flow path at the one of the inlet or outlet is      OPEP device with a top portion of the device's housing
restricted. The method may include receiving exhaled air 25 removed;
through the inlet, rotating the restrictor member in response         FIG. 10 is a bottom view of the embodiment of FIG. 9
to receipt of the exhaled air at the plurality of vanes, and       with a bottom portion of the device's housing removed;
oscillating an exhalation pressure between a minimum and              FIG. 11 is a cross-sectional perspective view of the
a maximum at the inlet during an exhalation period. The            embodiment of FIG. 9;
minimum may be achieved when the restrictor member is in 30           FIG. 12 is a cross-sectional perspective view of a fifth
the open position and the maximum may be achieved when             embodiment of an OPEP device;
the restrictor member is in the closed position. The restrictor       FIG. 13 is a cross-sectional side view of the embodiment
                                                                   of FIG. 12 showing a restrictor member in a closed position;
member may be configured to move between the open
                                                                      FIG. 14. is a cross-sectional side view of the embodiment
position and the closed position independent of the exhala- 35
                                                                   of FIG. 12 showing a restrictor member in an open position;
tion pressure at the chamber inlet.
                                                                      FIG. 15 is a cross-sectional perspective view of the
   In yet another embodiment, a system for providing oscil-        embodiment of FIG. 12 having a one way-valve;
lating respiratory pressure therapy in combination with               FIGS. 16A-C are top views of various restrictor members
aerosol therapy is provided. The system may include an             suitable for use in the embodiment of FIG. 12;
oscillating positive respiratory pressure apparatus having a 40       FIG. 17 is a cross-sectional perspective view of a sixth
housing defining a chamber, a chamber inlet in communi-            embodiment of an OPEP device; and,
cation with the chamber, and a chamber outlet in commu-               FIG. 18 is a cross-sectional perspective view of the
nication with the chamber. An exhalation flow path is              embodiment of FIG. 17 attached to a nebulizer.
defined between the chamber inlet and the chamber outlet.
A restrictor member having at least one blocking segment 45                   DETAILED DESCRIPTION OF THE
and a plurality of vanes is rotatably mounted in the interior             PRESENTLY PREFERRED EMBODIMENTS
chamber and positioned such that rotation of the restrictor
member moves the at least one blocking segment between                OPEP therapy is very effective within a specific range of
an open position where the exhalation flow path at one of the      operating conditions. For example, an adult human may
chamber inlet or the chamber outlet is unrestricted and a 50 have an exhalation flow rate ranging from 10 to 60 liters per
closed position where the exhalation flow path at the one of       minute, and may maintain a static exhalation pressure in the
the chamber inlet or the chamber outlet is restricted. Also, a     range of 10 to 20 cm H 2 O. Within these parameters, OPEP
respiratory portal is adapted for receiving an aerosol medi-       therapy is believed to be most effective when changes in the
cament. The system may further include an aerosol therapy          exhalation pressure range from 5 to 20 cm H 2 O oscillating
apparatus removably connected to the respiratory portal of 55 at a frequency of 10 to 40 Hz. In contrast, an infant may have
the oscillating positive respiratory pressure apparatus. The       a much lower exhalation flow rate, and may maintain a
aerosol therapy apparatus may consist of an aerosol housing        lower static exhalation pressure, thereby altering the oper-
having an aerosol chamber for holding an aerosol medica-           ating conditions most effective for OPEP therapy. As
ment and an aerosol outlet communicating with the aerosol          described below, the present invention is configurable so that
chamber for permitting the aerosol medicament to be with- 60 ideal operating conditions may be selected and maintained.
drawn from the aerosol chamber. The system may also have              Referring to FIG. 1, a first embodiment of an OPEP
an inhalation flow path defined between the aerosol outlet         device 130 is shown with a side portion of a housing 132
and a user interface, where the inhalation flow path does not      removed for purposes of illustration. In general, the OPEP
traverse the exhalation flow path defined between the cham-        device 130 comprises a housing 132 having an interior
ber inlet and the chamber outlet. The aerosol medicament 65 chamber 134, a chamber inlet 136, and a chamber outlet 138.
traverses the inhalation flow path without contacting the          An exhalation flow path 140 is defined through chamber
restrictor member.                                                 inlet 136, the interior chamber 134, and the chamber outlet

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138. The housing 132 may also be associated with a mouth-          moves to an intermediate position when the restrictor mem-
piece 139 for receiving exhaled air. Although the mouth-           ber 142 is rotated to a position where a blocking segment
piece 139 is shown in FIG. 1. as being fixedly attached to the     146 is at least partially blocking the chamber inlet 136 and
housing 132, it is envisioned that the mouthpiece 139 may          the flow path 140 through the cross-sectional area of the
be removable and replaceable with a mouthpiece 139 of a 5 chamber inlet 136 is at least partially restricted by the
different shape or size. Alternatively, other user interfaces,     restrictor member 142. As a user exhales into the mouth-
such as breathing tubes or gas masks (not shown) may be            piece when the restrictor member 142 is in an intermediate
associated with the housing 132. Preferably, the housing 132       position, the exhaled air passes through the unblocked
is openable so that the interior chamber 134 and the parts         portion of the flow path 140 and exits the interior chamber
contained therein can be periodically accessed, cleaned, and 10
                                                                   134 through the chamber outlet 138. If the restrictor member
replaced. The housing 132 may be constructed of any
                                                                   142 is in an intermediate position moving to an open
durable material, such as a plastic or polymer.
                                                                   position (FIG. 2), then the exhalation pressure at the cham-
   In FIG. 1, the housing 132 and the interior chamber 134
are cylindrical. However, a housing of any shape could be          ber inlet 136 is decreasing. If the restrictor member 142 is
used. Furthermore, the chamber inlet 136 is generally shown 15 moving to a closed position, the exhalation pressure at the
as being a single, rectangular inlet. However, the chamber         chamber inlet 136 is increasing.
inlet 136 could also be any shape or series of shapes, such           Referring to FIG. 4, the restrictor member 142 is shown
as a plurality of circular inlets. More importantly, it should     in a closed position. The restrictor member 142 moves to a
be appreciated that the cross-sectional area of the chamber        closed position when the restrictor member 142 is rotated to
inlet 136 influences the ideal operating conditions discussed 20 a position where a blocking segment 146 substantially
above. Likewise, the chamber outlet 138 is generally shown         blocks the chamber inlet 136 and the flow path 140 through
as a plurality of apertures, however a single aperture or a        the cross-sectional area of the chamber inlet 136 is substan-
number of arrangements of apertures may also be used.              tially restricted by the restrictor member 142. Thus, when
Although these variables are discussed in general with             the restrictor member 142 is in a closed position, substan-
reference to the embodiment of FIG. 1, it should be under- 25 tially no exhaled air passes through the chamber inlet 136.
stood that every embodiment described herein may be varied         It should be understood that a complete seal need not be
in a similar manner.                                               formed at the chamber inlet 136 between the restrictor
   A restrictor member 142 is rotatably mounted within the         member 142 and the housing 132. A small amount of
interior chamber 134. The restrictor member 142 also may           exhaled air may be permitted to pass through the chamber
be constructed of any durable plastic or polymer, such as 30 inlet 136 when the restrictor member is in the closed
polypropylene. As shown in FIG. 1, the restrictor member           position. Nevertheless, in the closed position, exhalation
142 comprises a hub portion 144 and at least one blocking          pressure at the chamber inlet 136 is at a maximum.
segment 146 extending outward from the hub portion 144.               When the OPEP device 130 is in operation and the shaft
The restrictor member 142, however, could be any number            148 is continuously rotated, the restrictor member 142
of shapes, so long as it may be positionable such that at least 35 moves between an open position, multiple intermediate
one blocking segment 146 located on the restrictor member          positions, a closed position, multiple intermediate positions,
142 is capable of at least partially blocking the chamber inlet    and back to an open position. Likewise, the cross-sectional
136, as described below.                                           area of the flow path 140 through the chamber inlet 136
   The restrictor member 142 is connected at the hub portion       transitions from being substantially unrestricted, to substan-
144 to a shaft 148, such that rotation of the shaft 148 causes 40 tially restricted, and back to being substantially restricted.
rotation of the restrictor member 142. The shaft 148 extends       As a result, when the user exhales into the mouthpiece 139,
through the housing 132 and may be operatively connected           the exhalation pressure at the chamber inlet 136 increases to
to a motor 150. The motor 150, along with batteries (not           a maximum as the restrictor member 142 moves from an
shown) for powering the motor 150, may be housed within            open position to a closed position and decreases to a
a motor housing (not shown) attached to the OPEP device 45 minimum as the restrictor member 142 returns to an open
130. Although it is preferred that the shaft 148 be adapted for    position. As the restrictor member 142 continues to rotate
connection to a motor 150, it is also envisioned that the shaft    and periodically restrict the flow path 140 through the
148 could extend through the housing 132 and be adapted            chamber inlet 136, the exhalation pressure at the chamber
for manual rotation by the user of the OPEP device 130.            inlet 136 oscillates between a minimum when the restrictor
   Referring to FIGS. 2-4, the OPEP device 130 is shown 50 member 142 is in an open position and a maximum when the
with a top portion of the housing 132 removed for purposes         restrictor member 142 is in a closed position. This oscillat-
of illustration. In FIG. 2, the OPEP device 130 is shown with      ing exhalation pressure effectively transmits an oscillating
the restrictor member 142 and the chamber inlet 136                back pressure to the lungs, thereby splitting open obstructed
arranged in an open position. The restrictor member 142 is         airways, and loosening the secretions contributing to bron-
positioned in an open position when no blocking segment 55 chial obstructions.
146 is substantially blocking the chamber inlet 136 and               As previously stated, the housing 130 is preferably open-
when the flow path 140 through the cross-sectional area of         able so that the restrictor member 142 may be accessed. The
the chamber inlet 136 is substantially unrestricted by the         restrictor member 142 is removably connected to the shaft
restrictor member 142. Thus, when the restrictor member            148 such that a user can remove the restrictor member 142
142 is in an open position, a user of the OPEP device 130 60 for cleaning or replacement with a new or different restrictor
may freely exhale into the mouthpiece 139 and the exhaled          member 142. Referring to FIGS. 5A-E, top views of mul-
air may travel along the exhalation flow path 140 through the      tiple restrictor members 142 are shown. The hub portion 144
chamber inlet 136, into the interior chamber 134, and out the      of each restrictor member 142 has a slot 145 keyed to fit on
chamber outlet 138. In the open position, the exhalation           a corresponding keyed portion (not shown) of the shaft 148.
pressure at the chamber inlet 136 is at a minimum.              65 In this regard, a user is able to easily remove an existing
   Referring to FIG. 3, the restrictor member 142 is shown         restrictor member 142 for cleaning or replacement with a
in an intermediate position. The restrictor member 142             new restrictor member 142.

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   Depending on the prescribed treatment, a user may select           Referring to FIG. 8, a side view of the respiratory portal
from a number of restrictor members 142, each having a             354 is shown without the nebulizer 352 for delivery ofOPEP
different number of blocking segments 146. FIGS. 5A-E              therapy only. In FIG. 8, the chamber inlet 336 is located
show an eight blocking segment 146 restrictor member 142           above the interior chamber 334 and the chamber outlet 338
and multiple alternative restrictor members 142a, 142b, 5 is located directly beneath the mouthpiece 339. However, it
142c, 142d, having anywhere from four to seven blocking            should be noted that the chamber inlet 336 and the chamber
segments 146. By changing the number of blocking seg-              outlet 338 may be located elsewhere on the housing 332, as
ments 146 on the restrictor member 142, the user may               discussed in reference to the previous embodiments.
change the oscillation frequency of the exhalation pressure           The respiratory portal 354 includes a nebulizer port 356
generated at the chamber inlet 136 for a given rotation speed 10 adapted for receiving either the nebulizer output 360 or an
of the motor 150. Furthermore, the relative size or shape of       end cap 358 for regulating the flow of air through the
the blocking segments 146 on a restrictor member 146 may           nebulizer port 356. The end cap 358 and the nebulizer output
vary, thus providing for added variation in the oscillation, if    360 may be removably connected to the nebulizer port 356
desired.                                                           by any means, including threaded or snap-on connections.
   In addition, the motor 150 may be a variable speed motor 15 Both the nebulizer output 360 and the end cap 358 may
controllable by the user. Although the motor may be con-           include a one-way valve 359 configured so that air may enter
figured to rotate the restrictor member back and forth in          the respiratory portal 354 through the valve opening 361 on
opposite directions, the restrictor member 142 is preferably       inhalation, but block the flow of air out of the valve opening
only rotated in a single direction. By adjusting the rotational    361 upon exhalation. Likewise, the chamber inlet 336 may
speed of the motor 150, a user may also adjust the oscillation 20 include a one way valve (not shown) configured so that air
frequency of the exhalation pressure generated at the cham-        may enter the interior chamber 334 through the chamber
ber inlet 136. This combination of different restrictor mem-       inlet 336 on exhalation, but be prevented from flowing out
bers 142 and the variable speed motor 150 provides for a           of the interior chamber 334 upon inhalation.
highly configurable OPEP device 130.                                  Thus, when a user of the OPEP device 330 exhales into
   Referring to FIG. 6, a second embodiment of an OPEP 25 the mouthpiece 339, the one way valve in the end cap 358
device 230 is shown with a side portion of a housing 232           or nebulizer output 360 closes, the one way valve through
removed for purposes of illustration. In general, the OPEP         the chamber inlet 336 opens, and exhaled air is forced into
device 230 has a larger housing 232 for accommodating              the interior chamber 334 through the chamber inlet 336. In
multiple restrictor members 242. The housing 232 also has          contrast, when a user of the OPEP device 330 inhales air
an interior chamber 234, a chamber inlet 236, and a chamber 30 through the mouthpiece 339, the one way valve in the end
outlet 238. A flow path 240 is defined through the chamber         cap 358 or nebulizer output 360 opens, the one-way valve
inlet 236, the interior chamber 234, and exiting the chamber       through the chamber inlet 336 closes, and air is drawn
outlet 238.                                                        through the nebulizer port 356 into the user's mouth. If the
   Within the interior chamber 234, the restrictor members         nebulizer 352 is attached, a user inhales medicated air drawn
242 may either be stacked atop one another and operatively 35 from the nebulizer 352 upon inhalation. Any of a number of
connected to a shaft 248, or, in the alternative, each indi-       commercially available nebulizers may be used. One suit-
vidually connected to the shaft 248. Furthermore, each             able nebulizer is the AeroEclipse® II breath actuated nebu-
restrictor member 242 may have a different number of               lizer available from Trudell Medical International of Lon-
blocking segments 246. As in the prior embodiment, the             don, Canada. Descriptions of suitable nebulizers may be
housing 232 is openable so that a user may remove and 40 found in U.S. Pat. No. 5,823,179, the entirety of which is
replace the restrictor member 242 positioned adjacent the          hereby incorporated by reference herein.
chamber inlet 236. Thus, the interior chamber 232 may                 As in the previously discussed embodiments, the OPEP
conveniently store multiple restrictor members 242 from            device 330 administers OPEP therapy to the user during an
which the user may choose to position on the shaft 248             exhalation period. As a user exhales into the mouthpiece
adjacent the chamber inlet 236.                                 45 339, exhaled air is forced through the chamber inlet 336 and
   Alternatively, the shaft 248 may be moveable along its          into the interior chamber 334. During exhalation, as the
axis of rotation so that a user may position a different           restrictor member 342 rotates, and as the blocking segments
restrictor member 242 adjacent the chamber inlet 236 simply        346 pass by the chamber inlet 336, the exhalation pressure
by sliding the shaft further in or out of the housing 232.         at the chamber inlet 336 oscillates between a minimum
Therefore, a user can adjust the oscillation frequency with- 50 when the restrictor member 342 is an open position and a
out opening the housing 232 and replacing the restrictor           maximum when the restrictor member 342 is in a closed
member 242 positioned adjacent the chamber inlet 236, and          position.
without adjusting the rotational velocity of the shaft 248.           Alternatively, the OPEP device 330 may also be config-
   Referring to FIGS. 7-8, a third embodiment of an OPEP           ured to administer oscillating pressure therapy to the user
device 330 is shown. As shown in FIG. 7, the OPEP device 55 during both inhalation and exhalation. If the end cap 358 is
330 is adapted to connect to an output 360 of a nebulizer 352      provided without a one-way valve, inhaled air is drawn from
for the simultaneous administration of OPEP and aerosol            the interior chamber 334 through the chamber inlet 336. In
therapies. The OPEP device 330 generally includes a respi-         such a configuration, as the restrictor member 342 rotates,
ratory portal 354 for fluidly interconnecting the nebulizer        and as the blocking segments 346 pass by the chamber inlet
352, a mouthpiece 339, and the OPEP housing 332. The 60 336, the inhalation pressure at the chamber inlet 336 oscil-
OPEP device 330 may be configured such that it can be used         lates between a minimum when the restrictor member 342 is
either in combination with the nebulizer 352 or solely for         a closed position and a maximum when the restrictor mem-
administration of OPEP therapy. FIG. 7 also illustrates a          ber 342 is in an open position.
motor housing 356 for housing a motor (not shown) and                 Referring to FIG. 9, a fourth embodiment of an OPEP
batteries (not shown) for supplying power to the motor. A 65 device 430 is shown with a top portion of a housing 432
shaft 348 is provided to transfer rotational motion from the       removed for purposes of illustration. The OPEP device 430
motor to the restrictor member 342.                                is adapted for connection to a compressed air source (not

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shown), which may be used to rotate a restrictor member           13, the restrictor member 542 may come to rest in a closed
442. Because compressed air sources are commonly found            position where the blocking segment 546 is substantially
in hospital settings, the use of compressed air to rotate the     blocking the flow path 540 through the chamber inlet 536.
restrictor member 442 is convenient. The OPEP device 430          If the restrictor member 542 comes to rest in a closed
includes a compressed air inlet 462 for connecting to a 5 position, a sufficient amount of exhaled air may not enter the
compressed air hose (not shown) and an exhaust outlet 464         interior chamber 534 to initiate the rotation of the restrictor
for discharging the compressed air.                               member 542.
   Referring to FIG. 10, a bottom view of the OPEP device            As shown in FIG. 14, the restrictor member 542 may
430 is shown with a bottom portion of housing 430 removed.        therefore be weighted to have a center of gravity 572 offset
A turbine 466 is rotatably mounted within a turbine housing 10 from its axis of rotation. Based on the location of the center
468 and includes a plurality of vanes 467 configured such         of gravity 572 of the restrictor member 542, gravity may be
that compressed air entering the compressed air inlet 462         used to ensure that the restrictor member 542 comes to rest
causes the turbine 466 to rotate. As the turbine 466 rotates,     in an open position when the OPEP device 530 is held
the compressed air is discharged out the exhaust outlet 464.      upright.
   Referring to FIG. 11, a cross-sectional perspective view of 15    Alternatively, as shown in FIG. 15, the housing 532 of the
the OPEP device 430 is shown with a top portion of the            OPEP device 530 may also include a one-way valve 574
housing 432 removed. In this embodiment, a restrictor             configured to allow air to enter the interior chamber 534
member 442 and the turbine 466 are joined together along a        through the valve opening 575 upon inhalation. The one-
radial plane by a connecting member 468. Above the con-           way valve 57 4 prevents air from exiting the interior chamber
necting member 468, a housing 432 surrounds the restrictor 20 534 during exhalation. In this configuration, the OPEP
member 442 and defines an interior chamber 434. Below the         device 530 is adapted to restrict exhaled air flowing out of
connecting member 468, a turbine housing 470 surrounds            the interior chamber 534 at the chamber outlet 538. Thus,
the turbine 466 and includes the compressed air inlet 466         when a user exhales into the mouthpiece 539 and through the
and the exhaust outlet 464. Although FIG. 11 illustrates the      chamber inlet 536, the restrictor member 542 rotates, and the
restrictor member 442 and the turbine 466 as being joined by 25 blocking segment 546 periodically restricts the flow of
the connecting member 468, it should be appreciated that the      exhaled air through the chamber outlet 538. As the user
restrictor member 442 and the turbine 466 may be separate         exhales, the exhalation pressure at the chamber outlet 538
and operatively connected by other means, such as by a            oscillates between a minimum and a maximum in the same
shaft. In such a configuration, the housing 432 and the           manner as explained above, which is effectively transmitted
turbine housing 470 may also be separate.                      30 back to the user for the administration of OPEP therapy. In
   In operation, the OPEP device 430 administers OPEP             this configuration, the chamber inlet 536 is large enough
therapy to a user when it is hooked up to a source of             such that the blocking segment 546 does not substantially
compressed air and a user exhales into a mouthpiece 439. As       restrict the cross sectional area of the flow path 540 through
compressed air is forced into the turbine housing 470             the chamber inlet 536.
through the compressed air inlet 462, the turbine 466 begins 35      However, if the restrictor member 542 comes to rest in a
to rotate. Because the turbine 466 is connected to the            position where the blocking segment 546 is restricting the
restrictor member 442, rotation of the turbine 466 also           flow of air through the chamber outlet 538, a sufficient
causes the restrictor member 442 to rotate. As the restrictor     amount of exhaled air may not pass along the exhalation
member 442 rotates, and as blocking segments 446 pass by          flow path 540 through the chamber outlet 538 to initiate
a chamber inlet 436, the exhalation pressure at the chamber 40 rotation of the restrictor member 542. In this situation, a user
inlet 436 oscillates between a minimum when the restrictor        may inhale to open the one-way valve 574 and permit air to
member 442 is an open position and a maximum when the             flow through the valve opening 575, into the interior cham-
restrictor member 442 is in a closed position.                    ber 534, and through the chamber inlet 536, thereby initi-
   Referring to FIG. 12, a cross-sectional perspective view       ating rotation of the restrictor member 542, and moving the
of a fifth embodiment of an OPEP device 530 is shown. The 45 blocking segment 546 to a position where it is not restricting
OPEP device 530 is adapted to provide OPEP therapy using          the flow of air through the chamber outlet 538. After the
the force of air exhaled into the mouthpiece 539 to rotate the    blocking segment 546 has moved to a position where it is not
restrictor member 542, without the aid of a motor or              restricting the flow of air through the chamber outlet 538, a
compressed air. In general, the OPEP device 530 includes a        user may exhale to begin administration of OPEP therapy.
housing 532, an interior chamber 534, a chamber inlet 536, 50        As in the previous embodiments, the housing 532 is
a chamber outlet 538, an exhalation flow path 540, and a          preferably openable so that the housing 532 and the parts
restrictor member 542.                                            contained therein may be periodically accessed, cleaned, or
   The restrictor member 542 in the OPEP device 530               replaced. Referring to FIGS. 16A-C, top views of various
includes a plurality of vanes 567 adapted to rotate the           restrictor members 542 are shown. The restrictor members
restrictor member 542 when a user exhales into the mouth- 55 542 may have any number of vanes 567 and blocking
piece 539. The restrictor member 542 also includes a block-       segments 546. Furthermore, the blocking segments 546 may
ing segment 546 formed between two adjacent vanes 567.            extend only a portion of the way between adjacent vanes
Thus, when a user exhales into the mouthpiece 539, air is         567. In this regard, the OPEP device 530 is highly configu-
forced through the chamber inlet 536 and the restrictor           rable to achieve a specific oscillating frequency of the
member 542 begins to rotate. As the restrictor member 60 exhalation pressure. A user of the OPEP device 530 can
rotates, and as the blocking segment 546 periodically passes      change the oscillation frequency by simply selecting a
by the chamber inlet 536, the exhalation pressure at the          different restrictor member 542 and replacing the existing
chamber inlet 536 oscillates between a minimum when the           restrictor member 542 in the OPEP device 530.
restrictor member 542 is in an open position and a maximum           Referring to FIGS. 17-18, a cross-sectional view of a sixth
when the restrictor member 542 is in a closed position.        65 embodiment of an OPEP device 630 is shown. The OPEP
   When the user stops exhaling into the OPEP device 530,         device 630 is adapted to provide both OPEP therapy and,
the restrictor member 542 comes to a rest. As shown in FIG.       when connected to a nebulizer 652, the simultaneous admin-

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istration ofOPEP and aerosol therapies. In this embodiment,        Use of any such term should not be construed as a limitation
the OPEP device 630 includes a respiratory portal 654 for          to only inhalation or only exhalation.
fluidly interconnecting a mouthpiece 639, a chamber inlet             The foregoing description of the inventions has been
636, and a nebulizer port 656.                                     presented for purposes of illustration and description, and is
   As shown in FIG. 17, the OPEP device 630 is configured 5 not intended to be exhaustive or to limit the inventions to the
for the delivery of OPEP therapy only. In this configuration,      precise forms disclosed. It will be apparent to those skilled
the OPEP device 630 may include an end cap 658 for                 in the art that the present inventions are susceptible of many
regulating the flow of air through the nebulizer port 656. The     variations and modifications coming within the scope of the
end cap 658 may include a one-way valve 659 configured so          following claims.
                                                                10
that air may enter the respiratory portal 654 through the
                                                                      What is claimed is:
nebulizer port 656 on inhalation, but block the flow of air out
                                                                      1. A respiratory treatment device comprising:
of the nebulizer port 656 upon exhalation. Thus, a user may
                                                                      an inlet configured to receive exhaled air into the device;
inhale air through the one way valve 659 and the mouthpiece           an outlet configured to permit air to exit the device;
639 upon inhalation, and upon exhalation, receive OPEP 15             an opening positioned in an exhalation flow path defined
therapy as the one way valve 659 closes and exhaled air is               between the inlet and the outlet;
forced through the chamber inlet 636. At the chamber inlet            a blocking segment configured to rotate relative to the
636, a flow path 640 is periodically restricted by a rotating            opening between a closed position where the flow of air
restrictor member 642, thereby generating an oscillating                 through the opening is restricted, and an open position
exhalation pressure as previously described. As explained 20             where the flow of air through the opening is less
above in reference to FIGS. 12-14, the restrictor member                 restricted; and,
642 may also be weighted to have a center of gravity 672              a vane configured to rotate the blocking segment between
offset from its axis of rotation so that it comes to rest in an          the closed position and the open position in response to
open position when the OPEP device 630 is held upright.                  the flow of air through the opening;
   As shown in FIG. 18, the OPEP device 630 is connected 25           wherein a size of a blocking surface of the blocking
to the nebulizer 652 and configured for the simultaneous                 segment is equal to or greater than a size of the opening.
administration of OPEP and aerosol therapies. In this con-            2. The respiratory treatment device of claim 1, wherein
figuration, the end cap 658 has been removed and a nebu-           the blocking segment is mounted on the vane.
lizer output 660 has been attached to the nebulizer port 656          3. The respiratory treatment device of claim 2, wherein
on the respiratory portal 654. A one-way valve is not needed 30 the blocking segment is mounted to the vane at an obtuse
when attached to the nebulizer 652 because most commer-            angle.
cially available nebulizers include a valve means for regu-           4. The respiratory treatment device of claim 1, wherein
lating the flow of the aerosol contained therein. This con-        the blocking segment and the vane are rotatable about an
figuration operates in the same manner as described above in       axis of rotation perpendicular to a direction of the flow of air
reference to FIG. 17, except that an aerosol is drawn from 35 through the opening.
the nebulizer output 652 through the chamber inlet 636 upon           5. The respiratory treatment device of claim 1, wherein
inhalation. Thus, a user may simultaneously receive OPEP           the blocking segment and the vane have a combined center
therapy upon exhalation and aerosol therapy upon inhala-           of gravity offset from the axis of rotation.
tion.                                                                 6. The respiratory treatment device of claim 1, wherein
   An advantage of the embodiment of FIG. 18 is that an 40 the blocking segment and the vane are biased during a period
inhalation flow path 641 from the nebulizer 656 to the user        of no air flow through the opening solely by a weight of
substantially avoids the exhalation flow path 640. As such,        gravity.
when the OPEP device 630 is connected to the nebulizer 656            7. The respiratory treatment device of claim 1, wherein
for example, aerosol medicament does not get stuck in the          the flow of air through the opening is completely blocked
interior chamber 634. In this manner, loss of medicament 45 when the blocking segment is in the closed position.
and contamination of the interior chamber 634 may be                  8. The respiratory treatment device of claim 1, wherein
reduced.                                                           the blocking surface of the blocking segment contacts the
   In each of the embodiments described above, movement            opening when the blocking segment is in the closed position.
of the restrictor member from the closed position to an open          9. A respiratory treatment device comprising:
position, or from an open position to a closed position, does 50      an inlet configured to receive exhaled air into the device;
not depend on the exhalation pressure at the chamber inlet            an outlet configured to permit air to exit the device;
reaching a predetermined level, the attainment of which is            an opening positioned in an exhalation flow path defined
necessarily influenced by various human factors, including               between the inlet and the outlet, the opening having a
the user's exhalation flow rate. In this manner, the restrictor          generally oblong cross-sectional shape comprising a
member maintains a consistent oscillation frequency and 55               shorter first dimension and an elongated second dimen-
improves the effectiveness of OPEP therapy administered to               sion perpendicular to the first dimension; and,
users.                                                                a blocking segment configured to translate relative to the
   Although the description of the embodiments described                 opening along the shorter first dimension between a
above refer to the administration of OPEP therapy on                     closed position where the flow of air through the
exhalation, it should be appreciated that such embodiments 60            opening is restricted, and an open position where the
are also configurable for the administration of oscillating              flow of air through the opening is less restricted;
pressure therapy upon exhalation only, inhalation only, or            wherein a size of a blocking surface of the blocking
both exhalation and inhalation. Accordingly, the terms                   segment is equal to or greater than a size of the opening.
"oscillating positive respiratory pressure" and "oscillating          10. The respiratory treatment device of claim 9, wherein
positive expiratory pressure," or "OPEP," may be used 65 the oblong cross-sectional shape is generally rectangular.
interchangeably. Similarly, the term "respiratory" may refer          11. The respiratory treatment device of claim 9, further
to inhalation, exhalation, or both inhalation and exhalation.      comprising a conduit having a length terminating at the

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                              13                                                                     14
opening, wherein a cross-sectional shape of the conduit                  wherein a si~e pro~le of the blocking segment is shaped
along the length matches the cross-sectional shape of the                  to mate with a side profile of the opening, when the
opening.                                                                   blocking segment is in the closed position· and
   12. The respiratory treatment device of claim 11, wherein             wherein a _size of a blocking surface of the bl;cking
a cross-sectional area of the conduit is less than a cross- 5               segment 1s equal to or greater than a size of the opening.
sectional area of an opening associated with a patient                   19. The respiratory treatment device of claim 18, wherein
interface located upstream of the conduit.                            the side profile of the blocking segment and the side profile
   13. The respiratory treatment device of claim 9, further           of the opening are curved to mate with one another.
                                                                         20. The respiratory treatment device of claim 18, further
comprising a vane configured to move the blocking segment
between the closed position and the open position in 10 comprising a vane configured to move the blocking segment
response to the flow of air through the opening.                      between the closed position and the open position in
   14. The respiratory treatment device of claim 13, wherein          response to the flow of air through the opening.
                                                                         21. The respiratory treatment device of claim 20, wherein
the blocking segment is mounted on the vane.
   15. The respiratory treatment device of claim 9 wherein            the blocking segment is mounted on the vane.
a side profile of the blocking segment, in the direction of the 15       22. The respiratory treatment device of claim 18, further
elongated second dimension, is shaped to mate with a side             comprising a conduit having a length terminating at the
profile of the opening, when the blocking segment is in the           opening, wherein a cross-sectional shape of the conduit
closed position.                                                      along the length matches a cross-sectional shape of the
   16. The respiratory treatment device of claim 9,     wherein       opening.
                                                                         23. The respiratory treatment device of claim 22, wherein
the flow of air through the opening is completely blocked 20
when the blocking segment is in the closed position.                  the opening has a generally oblong cross-sectional shape
   17. The respiratory treatment device of claim 9, wherein           comprising a shorter first dimension and an elongated sec-
the blocking surface of the blocking segment contacts the             ond dimension perpendicular to the first dimension.
                                                                         24. The respiratory treatment device of claim 23 , wherein
opening when the blocking segment is in the closed position.
                                                                   25 the blocking segment is configured to translate relative to the
   18. A respiratory treatment device comprising:
   an inlet configured to receive exhaled air into the device·        opening along the shorter first dimension between the closed
   an outlet configured to permit air to exit  the device;       '    position and the open position.
                                                                         25. The respiratory treatment device of claim 18, wherein
   an opening positioned in an exhalation flow path defined
      between the inlet and the    outlet and                         the flow of air through the opening is completely blocked
                                                                                                                closed position.
   a blocking segment configured to ;ransl~te relative to the 30 when the blocking segment is in the
      opening between    a closed position where the flow   of air       26. The respiratory  treatment device    of claim 18, wherein
                                                                      the blocking   surface  of the blocking    segment   contacts the
      through the opening is restricted, and an open position
                                              opening    is  less     opening  when   the blocking  segment  is in the  closed position.
      where the flow of air through the
      restricted;                                                                             * * * * *




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